                          Case 8-08-76065-ast                           Doc 1           Filed 10/30/08                Entered 10/30/08 10:50:48

B 1 (Official Form 1) (1/08)
                                     United States Bankruptcy Court                                                                              Voluntary Petition
                                      Eastern District of New York

 Name of Debtor (if individual, enter Last, First, Middle):                                      Name of Joint Debtor (Spouse) (Last, First, Middle):
   SNYDER, ANTHONY, M.                                                                            SNYDER, JENNIFER, A.
 All Other Names used by the Debtor in the last 8 years                                          All Other Names used by the Joint Debtor in the last 8 years
 (include married, maiden, and trade names):                                                     (include married, maiden, and trade names):
   A/K/A MICHAEL A. SNYDER
Last four digits of Soc. Sec. or Indvidual-Taxpayer I.D. (ITIN) No./Complete EIN(if              Last four digits of Soc. Sec. or Indvidual-Taxpayer I.D. (ITIN) No./Complete EIN(if more
more than one, state all): XXX-XX-1541                                                           than one, state all):      XXX-XX-0699

 Street Address of Debtor (No. & Street, City, and State):                                       Street Address of Joint Debtor (No. & Street, City, and State):
   886 BAECK STREET                                                                               886 BAECK STREET
   RONKONKOMA, NY                                                                                 RONKONKOMA, NY
                                                             ZIP CODE          11779                                                                          ZIP CODE           11779
 County of Residence or of the Principal Place of Business:                                      County of Residence or of the Principal Place of Business:
   SUFFOLK                                                                                        SUFFOLK
 Mailing Address of Debtor (if different from street address):                                   Mailing Address of Joint Debtor (if different from street address):

                                                             ZIP CODE                                                                                         ZIP CODE
Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                              ZIP CODE
                      Type of Debtor                                           Nature of Business                               Chapter of Bankruptcy Code Under Which
                    (Form of Organization)                       (Check one box)                                                   the Petition is Filed (Check one box)
                       (Check one box.)
                                                                     Health Care Business                                 Chapter 7                        Chapter 15 Petition for
        Individual (includes Joint Debtors)                          Single Asset Real Estate as defined in 11                                             Recognition of a Foreign
                                                                                                                          Chapter 9
        See Exhibit D on page 2 of this form.                        U.S.C. § 101(51B)                                                                     Main Proceeding
        Corporation (includes LLC and LLP)                           Railroad                                            Chapter 11
                                                                                                                                                           Chapter 15 Petition for
        Partnership                                                  Stockbroker                                         Chapter 12                        Recognition of a Foreign
        Other (If debtor is not one of the above entities,           Commodity Broker                                                                      Nonmain Proceeding
                                                                     Clearing Bank                                       Chapter 13
        check this box and state type of entity below.)
        _____________________                                        Other                                                                    Nature of Debts
                                                                                                                                                (Check one box)
                                                                              Tax-Exempt Entity                          Debts are primarily consumer                  Debts are primarily
                                                                            (Check box, if applicable)                   debts, defined in 11 U.S.C.                   business debts.
                                                                                                                         § 101(8) as “incurred by an
                                                                        Debtor is a tax-exempt organization              individual primarily for a
                                                                        under Title 26 of the United States              personal, family, or house-
                                                                        Code (the Internal Revenue Code.)                hold purpose.”
                                  Filing Fee (Check one box)                                                                          Chapter 11 Debtors
                                                                                                     Check one box:
      Full Filing Fee attached
                                                                                                           Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
      Filing Fee to be paid in installments (applicable to individuals only). Must attach                  Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
      signed application for the court's consideration certifying that the debtor is                 Check if:
      unable to pay fee except in installments. Rule 1006(b) See Official Form 3A.
                                                                                                           Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
                                                                                                           insiders or affiliates) are less than $2,190,000.
      Filing Fee waiver requested (applicable to chapter 7 individuals only). Must
      attach signed application for the court's consideration. See Official Form 3B.                 Check all applicable boxes
                                                                                                           A plan is being filed with this petition
                                                                                                           Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                           of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                                   THIS SPACE IS FOR
                                                                                                                                                                          COURT USE ONLY
      Debtor estimates that funds will be available for distribution to unsecured creditors.
      Debtor estimates that, after any exempt property is excluded and administrative
      expenses paid, there will be no funds available for distribution to unsecured creditors.
 Estimated Number of Creditors

 1-           50-          100-         200-        1,000-       5,001-       10,001-     25,001-        50,001-     Over
 49           99           199          999         5,000        10,000       25,000      50,000         100,000     100,000
 Estimated Assets

 $0 to   $50,001 to       $100,001 to     $500,001 to $1,000,001 $10,000,001 $50,000,001 $100,000,001                 $500,000,001     More than $1
 $50,000 $100,000         $500,000        $1          to $10     to $50      to $100     to $500                      to $1 billion    billion
                                          million     million    million     million     million
 Estimated Liabilities

 $0 to   $50,001 to       $100,001 to     $500,001 to $1,000,001 $10,000,001 $50,000,001 $100,000,001
                                                                                                                      $500,000,001     More than $1
 $50,000 $100,000         $500,000        $1          to $10     to $50      to $100     to $500
                                                                                                                      to $1 billion    billion
                                          million     million    million     million     million
                            Case 8-08-76065-ast                        Doc 1           Filed 10/30/08                  Entered 10/30/08 10:50:48
B 1 (Official Form 1) (1/08)                                                                                                                                                 FORM B1, Page 2
Voluntary Petition                                                                               Name of Debtor(s):
  (This page must be completed and filed in every case)
                                                                                                 ANTHONY M. SNYDER, JENNIFER A. SNYDER
                                           All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
 Location                                                                                        Case Number:                                              Date Filed:
 Where Filed:          NONE
 Location                                                                                        Case Number:                                              Date Filed:
 Where Filed:
                            Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
 Name of Debtor:                                                                                 Case Number:                                              Date Filed:
 NONE
 District:                                                                                       Relationship:                                             Judge:


                                           Exhibit A                                                                                      Exhibit B
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                                     (To be completed if debtor is an individual
 10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)                                         whose debts are primarily consumer debts)
 of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)              I, the attorney for the petitioner named in the foregoing petition, declare that I
                                                                                                 have informed the petitioner that [he or she] may proceed under chapter 7, 11,
                                                                                                 12, or 13 of title 11, United States Code, and have explained the relief
                                                                                                 available under each such chapter. I further certify that I have delivered to the
                                                                                                 debtor the notice required by 11 U.S.C. § 342(b).
        Exhibit A is attached and made a part of this petition.                                     X /s/ Michael J. Macco                                     10/28/2008
                                                                                                        Signature of Attorney for Debtor(s)                      Date
                                                                                                        Michael J. Macco, Esq.                                  XX-XXXXXXX
                                                                                           Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
      Yes, and Exhibit C is attached and made a part of this petition.
       No

                                                                                           Exhibit D

 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

             Exhibit D completed and signed by the debtor is attached and made a part of this petition.

 If this is a joint petition:

             Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                                        Information Regarding the Debtor - Venue
                                                                                   (Check any applicable box)
                          Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                          preceding the date of this petition or for a longer part of such 180 days than in any other District.

                          There is a bankruptcy case concerning debtor's affiliate. general partner, or partnership pending in this District.


                          Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District. or
                          has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in
                          this District, or the interests of the parties will be served in regard to the relief sought in this District.


                                             Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                     (Check all applicable boxes.)

                          Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following).



                                                                                               (Name of landlord that obtained judgment)


                                                                                               (Address of landlord)
                          Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                          entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

                          Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the
                          filing of the petition.

                          Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
                          Case 8-08-76065-ast                         Doc 1           Filed 10/30/08               Entered 10/30/08 10:50:48
B 1 (Official Form 1) (1/08)                                                                                                                                          FORM B1, Page 3
Voluntary Petition                                                                            Name of Debtor(s):
  (This page must be completed and filed in every case)                                       ANTHONY M. SNYDER, JENNIFER A.
                                                                                              SNYDER
                                                                                      Signatures
                     Signature(s) of Debtor(s) (Individual/Joint)                                                      Signature of a Foreign Representative
I declare under penalty of perjury that the information provided in this petition is true     I declare under penalty of perjury that the information provided in this petition is true
and correct.                                                                                  and correct, that I am the foreign representative of a debtor in a foreign proceeding,
[If petitioner is an individual whose debts are primarily consumer debts and has              and that I am authorized to file this petition.
chosen to file under chapter 7] I am aware that I may proceed under chapter 7, 11, 12
or 13 of title 11, United States Code, understand the relief available under each such        (Check only one box.)
chapter, and choose to proceed under chapter 7.
                                                                                                    I request relief in accordance with chapter 15 of Title 11, United States Code.
[If no attorney represents me and no bankruptcy petition preparer signs the petition] I             Certified Copies of the documents required by § 1515 of title 11 are attached.
have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                                    Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
 I request relief in accordance with the chapter of title 11, United States Code, specified         Chapter of title 11 specified in the petition. A certified copy of the
 in this petition.                                                                                  order granting recognition of the foreign main proceeding is attached.

   X s/ ANTHONY M. SNYDER                                                                     X Not Applicable
       Signature of Debtor        ANTHONY M. SNYDER                                               (Signature of Foreign Representative)

   X s/ JENNIFER A. SNYDER
       Signature of Joint Debtor JENNIFER A. SNYDER                                               (Printed Name of Foreign Representative)

       Telephone Number (If not represented by attorney)
       10/28/2008                                                                                 Date
       Date
                                   Signature of Attorney                                                           Signature of Non-Attorney Petition Preparer
  X /s/ Michael J. Macco                                                                      I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined
      Signature of Attorney for Debtor(s)
                                                                                              in 11 U.S.C. § 110; (2) I prepared this document for compensation and have provided the
                                                                                              debtor with a copy of this document and the notices and information required under 11
      Michael J. Macco, Esq. Bar No. XX-XXXXXXX                                               U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules or guidelines have been
      Printed Name of Attorney for Debtor(s) / Bar No.                                        promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable
                                                                                              by bankruptcy petition preparers, I have given the debtor notice of the maximum amount
      Macco & Stern, LLP                                                                      before preparing any document for filing for a debtor or accepting any fee from the debtor,
                                                                                              as required in that section. Official Form 19 is attached.
      Firm Name
      135 Pinelawn Road, Suite 120 South
      Address                                                                                     Not Applicable
                                                                                                  Printed Name and title, if any, of Bankruptcy Petition Preparer
        Melville, New York 11747

      (631) 549-7900                                                                             Social-Security number (If the bankruptcy petition preparer is not an individual, state
      Telephone Number                                                                           the Social-Security number of the officer, principal, responsible person or partner of
      10/28/2008                                                                                 the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)

      Date
      *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a              Address
      certification that the attorney has no knowledge after an inquiry that the
      information in the schedules is incorrect.

                  Signature of Debtor (Corporation/Partnership)
                                                                                              X Not Applicable
 I declare under penalty of perjury that the information provided in this petition is true
 and correct, and that I have been authorized to file this petition on behalf of the             Date
 debtor.
                                                                                                 Signature of bankruptcy petition preparer or officer, principal, responsible person, or
                                                                                                 partner whose Social-Security number is provided above.
 The debtor requests the relief in accordance with the chapter of title 11, United States
 Code, specified in this petition.                                                               Names and Social-Security numbers of all other individuals who prepared or assisted
                                                                                                 in preparing this document unless the bankruptcy petition preparer is not an
 X Not Applicable                                                                                individual.
     Signature of Authorized Individual                                                          If more than one person prepared this document, attach to the appropriate official form
                                                                                                 for each person.

     Printed Name of Authorized Individual                                                       A bankruptcy petition preparer’s failure to comply with the provisions of title 11 and
                                                                                                 the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or
                                                                                                 both. 11 U.S.C. § 110; 18 U.S.C. § 156.
     Title of Authorized Individual


      Date
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Official Form 1, Exhibit D (10/06)

                                  UNITED STATES BANKRUPTCY COURT
                                          Eastern District of New York


         In re:   ANTHONY M. SNYDER JENNIFER A.                                     Case No.
                  SNYDER
                     Debtor(s)                                                                                 (if known)


           EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                            CREDIT COUNSELING REQUIREMENT

         Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court can
dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your creditors
will be able to resume collection activities against you. If your case is dismissed and you file another
bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps
to stop creditors' collection activities.

        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file
a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

              1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities
for available credit counseling and assisted me in performing a related budget analysis, and I have a certificate
from the agency describing the services provided to me. Attach a copy of the certificate and a copy of any debt
repayment plan developed through the agency.

               2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities
for available credit counseling and assisted me in performing a related budget analysis, but I do not have a
certificate from the agency describing the services provided to me. You must file a copy of a certificate from the
agency describing the services provided to you and a copy of any debt repayment plan developed through the
agency no later than 15 days after your bankruptcy case is filed.


              3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the five days from the time I made my request, and the following exigent circumstances
merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case now. [Must be
accompanied by a motion for determination by the court.] [Summarize exigent circumstances here.]

                                                                                                                             .


         If the court is satisfied with the reasons stated in your motion, it will send you an order approving
your request. You must still obtain the credit counseling briefing within the first 30 days after you file your
bankruptcy case and promptly file a certificate from the agency that provided the briefing, together with a
copy of any debt management plan developed through the agency. Any extension of the 30-day deadline
can be granted only for cause and is limited to a maximum of 15 days. A motion for extension must be filed
within the 30-day period. Failure to fulfill these requirements may result in dismissal of your case. If the
court is not satisfied with your reasons for filing your bankruptcy case without first receiving a credit
counseling briefing, your case may be dismissed.

             4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                       Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
        mental deficiency so as to be incapable of realizing and making rational decisions with respect to financial
        responsibilities.);
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Official Form 1, Exh. D (10/06) – Cont.
                      Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
        unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
        through the Internet.);
                      Active military duty in a military combat zone.

             5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. ' 109(h) does not apply in this district.

        I certify under penalty of perjury that the information provided above is true and correct.

Signature of Debtor: s/ ANTHONY M. SNYDER
                     ANTHONY M. SNYDER

Date: 10/28/2008
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Official Form 1, Exhibit D (10/06)

                                  UNITED STATES BANKRUPTCY COURT
                                          Eastern District of New York


         In re:   ANTHONY M. SNYDER JENNIFER A.                                     Case No.
                  SNYDER
                     Debtor(s)                                                                                 (if known)


           EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                            CREDIT COUNSELING REQUIREMENT

         Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court can
dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your creditors
will be able to resume collection activities against you. If your case is dismissed and you file another
bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps
to stop creditors' collection activities.

        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file
a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

              1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities
for available credit counseling and assisted me in performing a related budget analysis, and I have a certificate
from the agency describing the services provided to me. Attach a copy of the certificate and a copy of any debt
repayment plan developed through the agency.

               2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities
for available credit counseling and assisted me in performing a related budget analysis, but I do not have a
certificate from the agency describing the services provided to me. You must file a copy of a certificate from the
agency describing the services provided to you and a copy of any debt repayment plan developed through the
agency no later than 15 days after your bankruptcy case is filed.


              3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the five days from the time I made my request, and the following exigent circumstances
merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case now. [Must be
accompanied by a motion for determination by the court.] [Summarize exigent circumstances here.]

                                                                                                                             .


         If the court is satisfied with the reasons stated in your motion, it will send you an order approving
your request. You must still obtain the credit counseling briefing within the first 30 days after you file your
bankruptcy case and promptly file a certificate from the agency that provided the briefing, together with a
copy of any debt management plan developed through the agency. Any extension of the 30-day deadline
can be granted only for cause and is limited to a maximum of 15 days. A motion for extension must be filed
within the 30-day period. Failure to fulfill these requirements may result in dismissal of your case. If the
court is not satisfied with your reasons for filing your bankruptcy case without first receiving a credit
counseling briefing, your case may be dismissed.

             4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                       Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
        mental deficiency so as to be incapable of realizing and making rational decisions with respect to financial
        responsibilities.);
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Official Form 1, Exh. D (10/06) – Cont.
                      Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
        unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
        through the Internet.);
                      Active military duty in a military combat zone.

             5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. ' 109(h) does not apply in this district.

        I certify under penalty of perjury that the information provided above is true and correct.

Signature of Debtor: s/ JENNIFER A. SNYDER
                     JENNIFER A. SNYDER

Date: 10/28/2008
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B6A (Official Form 6A) (12/07)

In re:   ANTHONY M. SNYDER       JENNIFER A. SNYDER                                                               Case No.
                                                                 ,
                                                                                                                                              (If known)
                                           Debtors



                                   SCHEDULE A - REAL PROPERTY




                                                                              HUSBAND, WIFE, JOINT
                                                                                                                  CURRENT VALUE
                                                                                                                   OF DEBTOR'S




                                                                                 OR COMMUNITY
                                                                                                                    INTEREST IN
               DESCRIPTION AND                                                                                  PROPERTY, WITHOUT                    AMOUNT OF
                                                NATURE OF DEBTOR'S                                                DEDUCTING ANY
                 LOCATION OF                                                                                                                          SECURED
                                               INTEREST IN PROPERTY                                              SECURED CLAIM
                  PROPERTY                                                                                                                             CLAIM
                                                                                                                   OR EXEMPTION




 DEBTORS' INVESTMENT PROPERTY             Fee Owner                                 H                                       $ 40,000.00                    $ 54,605.87
 LOCATED AT 604 WINTERS AVE.,
 WEST HAZELTON, PA 18202
 (CURRENTLY IN FORECLOSURE)
 DEBTORS' RESIDENCE LOCATED AT            Co-Owner                                   J                                     $ 425,000.00                $ 385,977.00
 886 BAECK STREET, RONKONKOMA,
 NY

                                                                      Total                              $ 465,000.00
                                                                                                     (Report also on Summary of Schedules.)
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B6B (Official Form 6B) (12/07)

In re      ANTHONY M. SNYDER                    JENNIFER A. SNYDER                    ,              Case No.
                                                                                                                                       (If known)
                                                                Debtors



                                          SCHEDULE B - PERSONAL PROPERTY




                                                                                                                HUSBAND, WIFE, JOINT
                                                                                                                                        CURRENT VALUE OF




                                                                                                                  OR COMMUNITY
                                                                                                                                        DEBTOR'S INTEREST
                                                     NONE
                                                                                                                                        IN PROPERTY, WITH-
                                                                          DESCRIPTION AND LOCATION                                      OUT DEDUCTING ANY
               TYPE OF PROPERTY                                                 OF PROPERTY                                                SECURED CLAIM
                                                                                                                                           OR EXEMPTION




  1. Cash on hand                                    X
  2. Checking, savings or other financial                   COMMERCE CHECKING ACCOUNT                                J                                 7.00
     accounts, certificates of deposit, or
     shares in banks, savings and loan, thrift,
     building and loan, and homestead
     associations, or credit unions, brokerage
     houses, or cooperatives.
        Checking, savings or other financial                COMMERCE SAVINGS ACCOUNT                                 J                               100.00
        accounts, certificates of deposit, or
        shares in banks, savings and loan, thrift,
        building and loan, and homestead
        associations, or credit unions, brokerage
        houses, or cooperatives.
        Checking, savings or other financial                ING CHECKING ACCOUNT                                     J                                10.00
        accounts, certificates of deposit, or
        shares in banks, savings and loan, thrift,
        building and loan, and homestead
        associations, or credit unions, brokerage
        houses, or cooperatives.
        Checking, savings or other financial                NAVY FEDERAL C.U. CHECKING ACCOUNT                       J                                 0.00
        accounts, certificates of deposit, or
        shares in banks, savings and loan, thrift,          #7010191323
        building and loan, and homestead
        associations, or credit unions, brokerage
        houses, or cooperatives.
        Checking, savings or other financial                NAVY FEDERAL C.U.                                        J                                 5.00
        accounts, certificates of deposit, or
        shares in banks, savings and loan, thrift,          SAVINGS ACCOUNT #3014100048
        building and loan, and homestead
        associations, or credit unions, brokerage
        houses, or cooperatives.
        Checking, savings or other financial                WASHINGTON MUTUAL CHECKING ACCOUNT                       J                                35.00
        accounts, certificates of deposit, or
        shares in banks, savings and loan, thrift,          #181-427096-2
        building and loan, and homestead
        associations, or credit unions, brokerage
        houses, or cooperatives.
        Checking, savings or other financial                WASHINGTON MUTUAL SAVINGS ACCOUNT                        J                                 0.00
        accounts, certificates of deposit, or
        shares in banks, savings and loan, thrift,          #337-617342-8
        building and loan, and homestead
        associations, or credit unions, brokerage
        houses, or cooperatives.
  3. Security deposits with public utilities,        X
     telephone companies, landlords, and
     others.
  4. Household goods and furnishings,                       MISC. HOUSEHOLD GOODS & FURNISHINGS                      J                              1,500.00
     including audio, video, and computer
     equipment.
  5. Books, pictures and other art objects,          X
     antiques, stamp, coin, record, tape,
     compact disc, and other collections or
     collectibles.
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B6B (Official Form 6B) (12/07) -- Cont.

In re      ANTHONY M. SNYDER                  JENNIFER A. SNYDER                       ,             Case No.
                                                                                                                                       (If known)
                                                               Debtors



                                          SCHEDULE B - PERSONAL PROPERTY
                                                                         (Continuation Sheet)




                                                                                                                HUSBAND, WIFE, JOINT
                                                                                                                                        CURRENT VALUE OF




                                                                                                                  OR COMMUNITY
                                                                                                                                        DEBTOR'S INTEREST
                                                                                                                                        IN PROPERTY, WITH-


                                                    NONE
                                                                          DESCRIPTION AND LOCATION                                      OUT DEDUCTING ANY
              TYPE OF PROPERTY                                                  OF PROPERTY                                                SECURED CLAIM
                                                                                                                                           OR EXEMPTION




  6. Wearing apparel.                                      MISC. WEARING APPAREL                                     J                               1,500.00
  7. Furs and jewelry.                                     MISC. JEWELRY                                             J                                250.00
  8. Firearms and sports, photographic, and         X
     other hobby equipment.
  9. Interests in insurance policies. Name                 NY LIFE- TERM POLICY                                      J                                   0.00
     insurance company of each policy and
     itemize surrender or refund value of
     each.
 10. Annuities. Itemize and name each               X
     issuer.
 11. Interests in an education IRA as defined       X
     in 26 U.S.C. § 530(b)(1) or under a
     qualified State tuition plan as defined in
     26 U.S.C. § 529(b)(1). Give particulars.
     (File separately the record(s) of any such
     interest(s). 11 U.S.C. § 521(c).)
 12. Interests in IRA, ERISA, Keogh, or other              AIG( IRA)- ROLLED OVER RETIREMENT ACCOUNT              W                                  9,500.00
     pension or profit sharing plans. Give
     particulars.
        Interests in IRA, ERISA, Keogh, or other           ING 401(K)- EMPLOYER RETIREMENT ACCOUNT                W                                 10,000.00
        pension or profit sharing plans. Give
        particulars.
        Interests in IRA, ERISA, Keogh, or other           PROFIT SHARING PLAN-EMPLOYER RETIREMENT                W                                  6,000.00
        pension or profit sharing plans. Give
        particulars.                                       ACCOUNT
 13. Stock and interests in incorporated and               MBC INVESTORS, LLC                                        J                                   0.00
     unincorporated businesses. Itemize.
                                                           (EXPENSES EXCEED INCOME)
 14. Interests in partnerships or joint             X
     ventures. Itemize.
 15. Government and corporate bonds and             X
     other negotiable and nonnegotiable
     instruments.
 16. Accounts receivable.                           X
 17. Alimony, maintenance, support, and             X
     property settlements to which the debtor
     is or may be entitled. Give particulars.
 18. Other liquidated debts owed to debtor          X
     including tax refunds. Give particulars.
 19. Equitable or future interests, life estates,   X
     and rights or powers exercisable for the
     benefit of the debtor other than those
     listed in Schedule A - Real Property.
 20. Contingent and noncontingent interests         X
     in estate of a decedent, death benefit
     plan, life insurance policy, or trust.
 21. Other contingent and unliquidated              X
     claims of every nature, including tax
     refunds, counterclaims of the debtor,
     and rights to setoff claims. Give
     estimated value of each.
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B6B (Official Form 6B) (12/07) -- Cont.

In re      ANTHONY M. SNYDER                    JENNIFER A. SNYDER                      ,            Case No.
                                                                                                                                           (If known)
                                                               Debtors



                                          SCHEDULE B - PERSONAL PROPERTY
                                                                         (Continuation Sheet)




                                                                                                                    HUSBAND, WIFE, JOINT
                                                                                                                                            CURRENT VALUE OF




                                                                                                                      OR COMMUNITY
                                                                                                                                            DEBTOR'S INTEREST
                                                                                                                                            IN PROPERTY, WITH-


                                                    NONE
                                                                          DESCRIPTION AND LOCATION                                          OUT DEDUCTING ANY
               TYPE OF PROPERTY                                                 OF PROPERTY                                                    SECURED CLAIM
                                                                                                                                               OR EXEMPTION




 22. Patents, copyrights, and other                 X
     intellectual property. Give particulars.
 23. Licenses, franchises, and other general        X
     intangibles. Give particulars.
 24. Customer lists or other compilations           X
     containing personally identifiable
     information (as defined in 11 U.S.C. §
     101(41A)) provided to the debtor by
     individuals in connection with obtaining a
     product or service from the debtor primarily
     for personal, family, or household
     purposes.
 25. Automobiles, trucks, trailers, and other              1999 TOYOTA FORERUNNER                                      H                                  1,250.00
     vehicles and accessories.
                                                           (175,000 MILES)
        Automobiles, trucks, trailers, and other           2008 NISSAN ALTIMA                                          H                                 22,000.00
        vehicles and accessories.
                                                           (SUBJECT TO CAR LOAN)
 26. Boats, motors, and accessories.                X
 27. Aircraft and accessories.                      X
 28. Office equipment, furnishings, and             X
     supplies.
 29. Machinery, fixtures, equipment and             X
     supplies used in business.
 30. Inventory.                                     X
 31. Animals.                                              1 DOG                                                         J                                    0.00
 32. Crops - growing or harvested. Give             X
     particulars.
 33. Farming equipment and implements.              X
 34. Farm supplies, chemicals, and feed.            X
 35. Other personal property of any kind not        X
     already listed. Itemize.

                                                           2   continuation sheets attached                 Total                                       $ 52,157.00

                                                                                                                (Include amounts from any continuation sheets
                                                                                                                attached. Report total also on Summary of
                                                                                                                Schedules.)
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B6C (Official Form 6C) (12/07)


In re   ANTHONY M. SNYDER              JENNIFER A. SNYDER                                              Case No.
                                                                                          ,
                                                                                                                               (If known)
                                                              Debtors



                       SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

Debtor claims the exemptions to which debtor is entitled under:                Check if debtor claims a homestead exemption that exceeds
(Check one box)                                                                $136,875
   11 U.S.C. § 522(b)(2)
   11 U.S.C. § 522(b)(3)


                                                                                               VALUE OF                      CURRENT
                                                           SPECIFY LAW
                                                                                               CLAIMED                  VALUE OF PROPERTY
        DESCRIPTION OF PROPERTY                           PROVIDING EACH
                                                                                              EXEMPTION                 WITHOUT DEDUCTING
                                                            EXEMPTION
                                                                                                                            EXEMPTION


1999 TOYOTA FORERUNNER                      Debt. & Cred. Law § 282                                2,400.00                                 1,250.00
(175,000 MILES)
AIG( IRA)- ROLLED OVER                      Debt. & Cred. Law § 282, Ins. Law                          100%                                 9,500.00
RETIREMENT ACCOUNT                          §4607, CPLR §5205(c)
COMMERCE CHECKING                           Debt. & Cred. Law § 283                                       7.00                                  7.00
ACCOUNT
COMMERCE SAVINGS                            Debt. & Cred. Law § 283                                  100.00                                  100.00
ACCOUNT
DEBTORS' RESIDENCE                          CPLR § 5206(a)                                       100,000.00                            425,000.00
LOCATED AT 886 BAECK
STREET, RONKONKOMA, NY
ING 401(K)- EMPLOYER                        Debt. & Cred. Law § 282, Ins. Law                          100%                                10,000.00
RETIREMENT ACCOUNT                          §4607, CPLR §5205(c)
ING CHECKING ACCOUNT                        Debt. & Cred. Law § 283                                    10.00                                  10.00

MISC. HOUSEHOLD GOODS &                     CPLR § 5205(a)(5)                                      1,500.00                                 1,500.00
FURNISHINGS
MISC. JEWELRY                               CPLR § 5205(a)(5)                                        250.00                                  250.00

MISC. WEARING APPAREL                       CPLR § 5205(a)(5)                                      1,500.00                                 1,500.00

NAVY FEDERAL C.U.                           Debt. & Cred. Law § 283                                       5.00                                  5.00
SAVINGS ACCOUNT
#3014100048
PROFIT SHARING                              Debt. & Cred. Law § 282, Ins. Law                          100%                                 6,000.00
PLAN-EMPLOYER                               §4607, CPLR §5205(c)
RETIREMENT ACCOUNT
WASHINGTON MUTUAL                           Debt. & Cred. Law § 283                                    35.00                                  35.00
CHECKING ACCOUNT
#181-427096-2
WASHINGTON MUTUAL                           Debt. & Cred. Law § 283                                       0.00                                  0.00
SAVINGS ACCOUNT
#337-617342-8
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B6D (Official Form 6D) (12/07)


 In re   ANTHONY M. SNYDER             JENNIFER A. SNYDER                                                      ,           Case No.
                                                         Debtors                                                                                                            (If known)


                  SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

                    Check this box if debtor has no creditors holding secured claims to report on this Schedule D.




                                                                      HUSBAND, WIFE, JOINT
               CREDITOR'S NAME AND                                                                       DATE CLAIM WAS                                                     AMOUNT OF
                                                                                                                                                                                                       UNSECURED




                                                                                                                                               UNLIQUIDATED
                                                                        OR COMMUNITY
                 MAILING ADDRESS                                                                        INCURRED, NATURE                                                   CLAIM WITHOUT




                                                                                                                                  CONTINGENT
                                                           CODEBTOR
                                                                                                                                                                                                       PORTION, IF




                                                                                                                                                              DISPUTED
             INCLUDING ZIP CODE AND                                                                        OF LIEN, AND                                                      DEDUCTING
               AN ACCOUNT NUMBER                                                                         DESCRIPTION AND                                                      VALUE OF                    ANY
              (See Instructions, Above.)                                                               VALUE OF PROPERTY                                                    COLLATERAL
                                                                                                         SUBJECT TO LIEN


 ACCOUNT NO. 0918057343                                                 J                                                                                                           71,884.68                       0.00
                                                                                             SECOND MORTGAGE
 CHASE
                                                                                             DEBTORS' RESIDENCE
 PO BOX 78420
                                                                                             LOCATED IN RONKONKOMA,
 PHOENIX, AZ 85062
                                                                                             NY
                                                                                             __________________________
                                                                                             VALUE $425,000.00
 ACCOUNT NO. 091582367                                                  J                                                                                                          314,092.32                       0.00
                                                                                             Mortgage
 COUNTRYWIDE MORTGAGE
                                                                                             DEBTORS' RESIDENCE
 7105 CORPORATE DRIVE
                                                                                             LOCATED IN RONKONKOMA,
 MAIL STOP PTX-B-209
                                                                                             NY
 PLANO, TX 75024
                                                                                             __________________________
                                                                                             VALUE $425,000.00
 ACCOUNT NO. 1010029351                                                H                                                                                                            54,605.87                       0.00
                                                                                             Mortgage
 INDYMAC BANK
                                                                                             DEBTORS' INVESTMENT
 PO BOX 78826
                                                                                             PROPERTY LOCATED IN
 PHOENIX, AZ 85062
                                                                                             PENNSYLVANIA
                                                                                             __________________________
                                                                                             VALUE $40,000.00
 ACCOUNT NO. 430008839473-01                                            J                                                                                                           30,960.00                 8,960.00
                                                                                             CAR LOAN
 NAVY FEDERAL C.U.
                                                                                             2008 NISSAN ALTIMA
 PO BOX 25109
                                                                                             __________________________
 LEHIGH VALLEY, PA
                                                                                             VALUE $22,000.00




 0        continuation sheets
          attached
                                                                                             Subtotal
                                                                                             (Total of this page)
                                                                                                                                                                           $       471,542.87 $               8,960.00



                                                                                             Total                                                                         $       471,542.87 $              8,960.00
                                                                                             (Use only on last page)


                                                                                                                                                                         (Report also on Summary of (If applicable, report
                                                                                                                                                                         Schedules)                 also on Statistical
                                                                                                                                                                                                    Summary of Certain
                                                                                                                                                                                                    Liabilities and
                                                                                                                                                                                                    Related Data.)
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B6E (Official Form 6E) (12/07)

In re       ANTHONY M. SNYDER               JENNIFER A. SNYDER                          ,                             Case No.
                                                                Debtors                                                                            (If known)


                SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

        Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.


TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)
        Domestic Support Obligations
     Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
11 U.S.C. § 507(a)(1).


        Extensions of credit in an involuntary case
     Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

        Wages, salaries, and commissions
     Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
independent sales representatives up to $10,950* per person earned within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

        Contributions to employee benefit plans
    Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).
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     Certain farmers and fishermen

     Claims of certain farmers and fishermen, up to $5,400* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

     Deposits by individuals

      Claims of individuals up to $2,425* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
that were not delivered or provided. 11 U.S.C. § 507(a)(7).

     Taxes and Certain Other Debts Owed to Governmental Units
     Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

     Commitments to Maintain the Capital of an Insured Depository Institution
     Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
§ 507 (a)(9).

     Claims for Death or Personal Injury While Debtor Was Intoxicated

     Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
another substance. 11 U.S.C. § 507(a)(10).

     * Amounts are subject to adjustment on April 1, 2010, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.
                                                                   2 continuation sheets attached
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B6E (Official Form 6E) (12/07) – Cont.


In re     ANTHONY M. SNYDER                 JENNIFER A. SNYDER                                                                                                              Case No.
                                                                                                                  ,                                                                                  (If known)
                                                                   Debtors


               SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                 (Continuation Sheet)




                                                                   HUSBAND, WIFE, JOINT
             CREDITOR'S NAME,                                                                DATE CLAIM WAS                                                                AMOUNT            AMOUNT          AMOUNT




                                                                     OR COMMUNITY




                                                                                                                                                 UNLIQUIDATED
                                                                                                                                   CONTINGENT
                                                        CODEBTOR




                                                                                                                                                                DISPUTED
              MAILING ADDRESS                                                                 INCURRED AND                                                                 OF CLAIM        ENTITLED TO         NOT
            INCLUDING ZIP CODE,                                                              CONSIDERATION                                                                                  PRIORITY       ENTITLED TO
           AND ACCOUNT NUMBER                                                                   FOR CLAIM                                                                                                  PRIORITY, IF
           (See instructions above.)                                                                                                                                                                           ANY



 ACCOUNT NO.




                                                                                                                                  Subtotals                        $
Sheet no. 2 of 2 continuation sheets attached to Schedule of                                                          (Totals of this page)
                                                                                                                                                                               0.00 $             0.00 $           0.00
Creditors Holding Priority Claims


                                                                                                                                 Total
                                                                                          (Use only on last page of the completed
                                                                                          Schedule E. Report also on the Summary of
                                                                                                                                                                  $            0.00
                                                                                          Schedules.)
                                                                                                                                   Total
                                                                                          (Use only on last page of the completed                                                      $          0.00 $           0.00
                                                                                          Schedule E. If applicable, report also on the
                                                                                          Statistical Summary of Certain Liabilities
                                                                                          and Related Data. )
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B6F (Official Form 6F) (12/07)

In re    ANTHONY M. SNYDER                 JENNIFER A. SNYDER                                                                              Case No.
                                                                                                                  ,
                                                           Debtors                                                                                                              (If known)

        SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

                    Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                                        HUSBAND, WIFE, JOINT
                 CREDITOR'S NAME,                                                                                 DATE CLAIM WAS                                                                            AMOUNT OF




                                                                          OR COMMUNITY




                                                                                                                                                                                  UNLIQUIDATED
                                                                                                                                                                   CONTINGENT
                  MAILING ADDRESS                                                                                  INCURRED AND                                                                               CLAIM




                                                             CODEBTOR




                                                                                                                                                                                                 DISPUTED
                INCLUDING ZIP CODE,                                                                             CONSIDERATION FOR
               AND ACCOUNT NUMBER                                                                                      CLAIM.
                (See instructions above.)                                                                      IF CLAIM IS SUBJECT TO
                                                                                                                  SETOFF, SO STATE

ACCOUNT NO.         XX0480                                              W                                                                                                                                      12,500.00
 ADVANTA                                                                                         2006
 PO BOX 8088                                                                                     HOME REPAIRS, HOME GOODS,
 PHILADELPHIA, PA 19101                                                                          CLOTHES, PERSONAL ITEMS, FOOD,
                                                                                                 LATE FEES


ACCOUNT NO.         XXX5650                                             H                                                                                                                                       5,203.00
 BANK OF AMERICA                                                                                 2007
 PO BOX 15726                                                                                    CLOTHES, HOME GOODS, PERSONAL
 WILMINGTON, DE 19886                                                                            ITEMS, FOOD, LATE FEES



ACCOUNT NO.         XXX0664                                             H                                                                                                                                      18,291.00
 BANK OF AMERICA                                                                                 2006-2007
 PO BOX 15726                                                                                    FOOD,CLOTHES, PERSONAL ITEMS,
 WILMINGTON, DE 19886                                                                            HOME GOODS, LATE FEES



ACCOUNT NO.         XXX6202                                              J                                                                                                                                      8,466.00
 CHASE- VISA                                                                                     2006
 PO BOX 15299                                                                                    PERSONAL ITEMS, HOME GOODS,
 WILMINGTON, DE 19850                                                                            CLOTHES, LATE FEES




                2    Continuation sheets attached

                                                                                                                                                                 Subtotal                           $          44,460.00



                                                                                                                                                                                                    $
                                                                                                                                                                          Total
                                                                                                                   (Use only on last page of the completed Schedule F.)
                                                                                               (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                                      Summary of Certain Liabilities and Related Data.)
                         Case 8-08-76065-ast                     Doc 1                                   Filed 10/30/08                 Entered 10/30/08 10:50:48

B6F (Official Form 6F) (12/07) - Cont.

In re      ANTHONY M. SNYDER                 JENNIFER A. SNYDER                                                                                Case No.
                                                                                                                      ,
                                                               Debtors                                                                                                              (If known)

          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                      (Continuation Sheet)




                                                                            HUSBAND, WIFE, JOINT
                   CREDITOR'S NAME,                                                                                   DATE CLAIM WAS                                                                            AMOUNT OF




                                                                              OR COMMUNITY




                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                       CONTINGENT
                    MAILING ADDRESS                                                                                    INCURRED AND                                                                               CLAIM




                                                                 CODEBTOR




                                                                                                                                                                                                     DISPUTED
                  INCLUDING ZIP CODE,                                                                               CONSIDERATION FOR
                 AND ACCOUNT NUMBER                                                                                        CLAIM.
                  (See instructions above.)                                                                        IF CLAIM IS SUBJECT TO
                                                                                                                      SETOFF, SO STATE

 ACCOUNT NO.        XX510-999/ XXX48273                                     H                                                                                                                                           0.00
 IC SYSTEM, INC.                                                                                     NOTICE ONLY
 RE: VERIZON
 PO BOX 64378
 ST. PAUL, MN 55164


 ACCOUNT NO.        908-05-4115-4                                           W                                                                                                                                         188.00
 LIPA                                                                                                2008
 PO BOX 9050                                                                                         UTILITY
 HICKSVILLE, NY11802



 ACCOUNT NO.        3000459630                                              W                                                                                                                                          50.00
 SUFFOLK CO. WATER AUTHORITY                                                                         2008
 PO BOX 1149                                                                                         UTILITY
 NEWARK, NJ 07101



 ACCOUNT NO.        CCC48273/X510-999                                       H                                                                                                                                         223.00
 VERIZON / RMCC                                                                                      2007
 140 WEST STREET LBBV1                                                                               UTILITY
 NEW YORK, NY 10007



 ACCOUNT NO.        785537391-00001                                         H                                                                                                                                         163.00
 VERIZON WIRELESS                                                                                    2007
 PO BOX 408                                                                                          CELL PHONE CHARGES
 NEWARK, NJ 07101




Sheet no. 1 of 2 continuation sheets attached to Schedule of Creditors                                                                                               Subtotal                           $             624.00
Holding Unsecured
Nonpriority Claims


                                                                                                                                                                                                        $
                                                                                                                                                                              Total
                                                                                                                       (Use only on last page of the completed Schedule F.)
                                                                                                   (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                                          Summary of Certain Liabilities and Related Data.)
                         Case 8-08-76065-ast                     Doc 1                                   Filed 10/30/08                 Entered 10/30/08 10:50:48

B6F (Official Form 6F) (12/07) - Cont.

In re      ANTHONY M. SNYDER                 JENNIFER A. SNYDER                                                                                Case No.
                                                                                                                      ,
                                                               Debtors                                                                                                              (If known)

          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                      (Continuation Sheet)




                                                                            HUSBAND, WIFE, JOINT
                   CREDITOR'S NAME,                                                                                   DATE CLAIM WAS                                                                            AMOUNT OF




                                                                              OR COMMUNITY




                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                       CONTINGENT
                    MAILING ADDRESS                                                                                    INCURRED AND                                                                               CLAIM




                                                                 CODEBTOR




                                                                                                                                                                                                     DISPUTED
                  INCLUDING ZIP CODE,                                                                               CONSIDERATION FOR
                 AND ACCOUNT NUMBER                                                                                        CLAIM.
                  (See instructions above.)                                                                        IF CLAIM IS SUBJECT TO
                                                                                                                      SETOFF, SO STATE

 ACCOUNT NO.        XXX3773                                                  J                                                                                                                                     23,158.00
 WASHINGTON MUTUAL                                                                                   2006
 PO BOX 660433                                                                                       CREDIT BALANCE TRANSFER
 DALLAS, TX 75266



 ACCOUNT NO.        1541U03G77778101                                        H                                                                                                                                      14,157.93
 WILLAIM D. FORD FEDERAL                                                                             STUDENT LOAN
 DIRECT LOAN PROGRAM
 C/O US DEPT.OF EDUCATION
 PO BOX 242800
 LOUISVILLE, KY 40224

 ACCOUNT NO.        154S03G77778101                                         H                                                                                                                                      10,725.69
 WILLIAM D.FORD FEDERAL                                                                              STUDENT LOANS
 DIRECT LOAN PROGRAM
 C/O US DEP.T OF EDUCATION
 PO BOX 242800
 LOUISVILLE, KY 40224




Sheet no. 2 of 2 continuation sheets attached to Schedule of Creditors                                                                                               Subtotal                           $          48,041.62
Holding Unsecured
Nonpriority Claims


                                                                                                                                                                                                        $           93,125.62
                                                                                                                                                                              Total
                                                                                                                       (Use only on last page of the completed Schedule F.)
                                                                                                   (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                                          Summary of Certain Liabilities and Related Data.)
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B6G (Official Form 6G) (12/07)


In re:   ANTHONY M. SNYDER             JENNIFER A. SNYDER                           ,        Case No.
                                                        Debtors                                                  (If known)


 SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES

         Check this box if debtor has no executory contracts or unexpired leases.


                                                                                        DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
            NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                                DEBTOR'S INTEREST, STATE WHETHER LEASE IS FOR
              OF OTHER PARTIES TO LEASE OR CONTRACT.                                    NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                                            NUMBER OF ANY GOVERNMENT CONTRACT.
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B6H (Official Form 6H) (12/07)


In re: ANTHONY M. SNYDER            JENNIFER A. SNYDER                           Case No.
                                                                         ,                           (If known)
                                                      Debtors


                                            SCHEDULE H - CODEBTORS
         Check this box if debtor has no codebtors.




                   NAME AND ADDRESS OF CODEBTOR                                    NAME AND ADDRESS OF CREDITOR
                      Case 8-08-76065-ast                 Doc 1        Filed 10/30/08             Entered 10/30/08 10:50:48



B6I (Official Form 6I) (12/07)

 In re     ANTHONY M. SNYDER JENNIFER A. SNYDER                                      ,                  Case No.
                                                                 Debtors                                                               (If known)


            SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled “Spouse” must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.



 Debtor’s Marital
                                                                   DEPENDENTS OF DEBTOR AND SPOUSE
 Status:       MARRIED
                                                RELATIONSHIP(S):                                                                  AGE(S):
                                          SON                                                                                                       2
 Employment:                                            DEBTOR                                                        SPOUSE
 Occupation                     TECHNOLOGY SPECIALIST                                             VETERINARY TECHNICIAN
 Name of Employer               USE DIRECT, INC.                                                  ULTRAVET DIAGNOSTICS
 How long employed              4 YEARS                                                            13 YEARS
 Address of Employer            168 MAIN ST.                                                     220 E. JERICHO TPKE.
                                HUNTINGTON, NY 11743                                             MINEOLA, NY 11501
 INCOME: (Estimate of average or projected monthly income at time
              case filed)                                                                                    DEBTOR                          SPOUSE


 1. Monthly gross wages, salary, and commissions                                                    $                 5,000.00 $                    1,907.22
      (Prorate if not paid monthly.)
 2. Estimate monthly overtime                                                                       $                      0.00 $                         0.00

 3. SUBTOTAL                                                                                        $                5,000.00      $                1,907.22
 4. LESS PAYROLL DEDUCTIONS
         a. Payroll taxes and social security                                                       $                   574.62 $                        351.62
                                                                                                    $                     0.00 $                          0.00
         b. Insurance
         c. Union dues                                                                              $                     0.00 $                          0.00
         d. Other (Specify)                                                                         $                      0.00 $                         0.00

 5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                  $                   574.62 $                        351.62
 6. TOTAL NET MONTHLY TAKE HOME PAY                                                                 $                 4,425.38 $                    1,555.60
 7. Regular income from operation of business or profession or farm
         (Attach detailed statement)                                                                $                      0.00 $                         0.00
 8. Income from real property                                                                       $                      0.00 $                         0.00
 9. Interest and dividends                                                                          $                      0.00 $                         0.00
 10. Alimony, maintenance or support payments payable to the debtor for the
      debtor’s use or that of dependents listed above.                                              $                      0.00 $                         0.00
 11. Social security or other government assistance
 (Specify)                                                                                          $                      0.00 $                         0.00
 12. Pension or retirement income                                                                   $                      0.00 $                         0.00
 13. Other monthly income
 (Specify) AUTO                                                                                    $                      0.00    $                  271.86
              P/T ULTRASOUND JOB                                                                   $                      0.00    $                  500.00
              TOLLS                                                                                $                      0.00    $                    4.00
 14. SUBTOTAL OF LINES 7 THROUGH 13                                                                 $                     0.00    $                  775.86
 15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                   $                 4,425.38 $                    2,331.46
 16. COMBINED AVERAGE MONTHLY INCOME: (Combine column                                                                    $ 6,756.84
 totals from line 15)
                                                                                                (Report also on Summary of Schedules and, if applicable, on
                                                                                                 Statistical Summary of Certain Liabilities and Related Data)
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B6I (Official Form 6I) (12/07) - Cont.
 In re   ANTHONY M. SNYDER JENNIFER A. SNYDER                                       ,                Case No.
                                                                Debtors                                                             (If known)


         SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document.:
 WIFE WORKS AT UNIVERSAL SEMINARS IN BEDFORD HILLS, NY 1 WEEKEND PER MONTH.
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B6J (Official Form 6J) (12/07)

  In re ANTHONY M. SNYDER JENNIFER A. SNYDER                                         ,                          Case No.
                                        Debtors                                                                                    (If known)

                 SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
         Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor’s family at time case filed. Prorate
any payments made biweekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses calculated on this form may
differ from the deductions from income allowed on Form22A or 22C.
       Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
       expenditures labeled "Spouse."

 1. Rent or home mortgage payment (include lot rented for mobile home)                                                        $                 3,267.99
      a. Are real estate taxes included?         Yes                      No
       b. Is property insurance included?        Yes                      No
 2. Utilities: a. Electricity and heating fuel                                                                                $                   488.00
               b. Water and sewer                                                                                             $                    20.00
               c. Telephone                                                                                                   $                    25.00
               d. Other CABLE TV                                                                                             $                   117.60
                       CELL PHONE                                                                                            $                   163.00
 3. Home maintenance (repairs and upkeep)                                                                                     $                   100.00
 4. Food                                                                                                                      $                   925.00
 5. Clothing                                                                                                                  $                   175.00
 6. Laundry and dry cleaning                                                                                                  $                    25.00
 7. Medical and dental expenses                                                                                               $                   200.00
 8. Transportation (not including car payments)                                                                               $                   225.00
 9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                          $                   100.00
10. Charitable contributions                                                                                                  $                    25.00
 11. Insurance (not deducted from wages or included in home mortgage payments)
                 a. Homeowner’s or renter’s                                                                                   $                     0.00
                 b. Life                                                                                                      $                   173.00
                 c. Health                                                                                                    $                     0.00
                 d. Auto                                                                                                      $                   216.00
                 e. Other                                                                                                     $                      0.00
 12. Taxes (not deducted from wages or included in home mortgage payments)
 (Specify)                                                                                                                    $                      0.00
 13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
                a. Auto                                                                                                       $                   387.54
                 b. Other                                                                                                     $                      0.00
 14. Alimony, maintenance, and support paid to others                                                                         $                     0.00
 15. Payments for support of additional dependents not living at your home                                                    $                     0.00
 16. Regular expenses from operation of business, profession, or farm (attach detailed statement)                             $                     0.00
 17. Other CHILD CARE                                                                                                         $                    480.00
            HAIRCUTS & GROOMING                                                                                               $                     50.00
 18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,
 if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)                                          $                 7,163.13

 19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this document:


 20. STATEMENT OF MONTHLY NET INCOME
           a. Average monthly income from Line 15 of Schedule I                                                               $                 6,756.84
           b. Average monthly expenses from Line 18 above                                                                     $                 7,163.13
           c. Monthly net income (a. minus b.)                                                                                $                  -406.29
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B6 Summary (Official Form 6 - Summary) (12/07)

                                                           United States Bankruptcy Court
                                                              Eastern District of New York


In re ANTHONY M. SNYDER                JENNIFER A. SNYDER                              ,                    Case No.
                                                               Debtors
                                                                                                            Chapter       7

                                                    SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I,
and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all claims from
Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors also must complete the “Statistical Summary of Certain Liabilities
and Related Data” if they file a case under chapter 7, 11, or 13.




      NAME OF SCHEDULE                     ATTACHED        NO. OF SHEETS                   ASSETS                      LIABILITIES                     OTHER
                                            (YES/NO)

 A - Real Property                            YES                        1       $           465,000.00

 B - Personal Property                        YES                        3       $            52,157.00

 C - Property Claimed
     as Exempt                                YES                        1

 D - Creditors Holding                        YES                        1                                    $               471,542.87
     Secured Claims
 E - Creditors Holding Unsecured
     Priority Claims                          YES                        3                                    $                      0.00
     (Total of Claims on Schedule E)

 F - Creditors Holding Unsecured              YES                        3                                    $                93,125.62
     Nonpriority Claims

 G - Executory Contracts and                  YES                        1
     Unexpired Leases

 H - Codebtors                                YES                        1

 I - Current Income of                                                                                                                         $            6,756.84
     Individual Debtor(s)                     YES                        2

 J - Current Expenditures of                  YES                        1
     Individual Debtor(s)                                                                                                                      $            7,163.13

                                                                      17         $          517,157.00        $           564,668.49
                                    TOTAL
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Form 6 - Statistical Summary (12/07)

                                                      United States Bankruptcy Court
                                                       Eastern District of New York

In re   ANTHONY M. SNYDER             JENNIFER A. SNYDER                           ,
                                                                                                     Case No.
                                                            Debtors                                  Chapter      7


          STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
           If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
§ 101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.


                Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
information here.


This information is for statistical purposes only under 28 U.S.C. § 159.



Summarize the following types of liabilities, as reported in the Schedules, and total them.



 Type of Liability                                                           Amount
 Domestic Support Obligations (from Schedule E)                             $ 0.00
 Taxes and Certain Other Debts Owed to Governmental Units (from
 Schedule E)                                                                $ 0.00

 Claims for Death or Personal Injury While Debtor Was
 Intoxicated (from Schedule E) (whether disputed or undisputed)             $ 0.00

 Student Loan Obligations (from Schedule F)                                 $ 0.00

 Domestic Support, Separation Agreement, and Divorce Decree
 Obligations Not Reported on Schedule E.                                    $ 0.00

 Obligations to Pension or Profit-Sharing, and Other Similar Obligations
 (from Schedule F)                                                          $ 0.00

                                                            TOTAL            $ 0.00

State the following:

 Average Income (from Schedule I, Line 16)                                  $ 6,756.84

 Average Expenses (from Schedule J, Line 18)                                $ 7,163.13
 Current Monthly Income (from Form 22A Line 12; OR, Form
 22B Line 11; OR, Form 22C Line 20 )                                        $ 7,233.25
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                                                       United States Bankruptcy Court
                                                        Eastern District of New York

In re   ANTHONY M. SNYDER             JENNIFER A. SNYDER                           ,
                                                                                              Case No.
                                                                Debtors                       Chapter      7


State the following:

 1. Total from Schedule D, “UNSECURED PORTION, IF ANY” column
                                                                                             $8,960.00

 2. Total from Schedule E, “AMOUNT ENTITLED TO PRIORITY”
 column.                                                                      $ 0.00
 3. Total from Schedule E, “AMOUNT NOT ENTITLED TO PRIORITY,
 IF ANY” column                                                                              $0.00
 4. Total from Schedule F                                                                    $93,125.62

 5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                $102,085.62
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B6 Declaration (Official Form 6 - Declaration) (12/07)


  In re ANTHONY M. SNYDER                JENNIFER A. SNYDER                            ,                                Case No.
                                                           Debtors                                                                       (If known)



                          DECLARATION CONCERNING DEBTOR'S SCHEDULES
                             DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                        19
sheets, and that they are true and correct to the best of my knowledge, information, and belief.

Date: 10/28/2008                                                               Signature: s/ ANTHONY M. SNYDER
                                                                                           ANTHONY M. SNYDER
                                                                                                                        Debtor

Date: 10/28/2008                                                               Signature: s/ JENNIFER A. SNYDER
                                                                                           JENNIFER A. SNYDER
                                                                                                               (Joint Debtor, if any)
                                                                              [If joint case, both spouses must sign]


       DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP
                                                                     (NOT APPLICABLE)




Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C §§ 152 and 3571.
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B7 (Official Form 7) (12/07)


                                                  UNITED STATES BANKRUPTCY COURT
                                                       Eastern District of New York

In re:   ANTHONY M. SNYDER         JENNIFER A. SNYDER                                         Case No.
                                                                          ,
                                                     Debtors                                                     (If known)




                                          STATEMENT OF FINANCIAL AFFAIRS

          1. Income from employment or operation of business
None      State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the
          debtor's business, including part-time activities either as an employee or in independent trade or business, from the
          beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the two
          years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on the basis
          of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates of the debtor's
          fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or
          chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
          joint petition is not filed.)
          AMOUNT                            SOURCE                                        FISCAL YEAR PERIOD

          77,988.00                        EMPLOYMENT (J)                                 2007

          62,165.00                        EMPLOYMENT(J)                                  2008 TO DATE

          2. Income other than from employment or operation of business
None      State the amount of income received by the debtor other than from employment, trade, profession, operation of the debtor's
          business during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is
          filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for
          each spouse whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

          AMOUNT                             SOURCE                                                               FISCAL YEAR PERIOD
          4,500.00                           UNIVERSAL SEMINARS INC.                                              2006
          4,145.00                           UNIVERSAL SEMINARS INC.                                              2007
          4,500.00                           UNIVERSAL SEMINARS INC.                                              2008 TO DATE


          3. Payments to creditors

          Complete a. or b., as appropriate, and c.
None      a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or
          services, and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless
          the aggregate value of all property that constitutes or is affected by such transfer is less than $600. Indicate with an asterisk
          (*) any payments that were made to a creditor on account of a domestic support obligation or as part of an alternative
          repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors filing
          under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint petition is filed,
          unless the spouses are separated and a joint petition is not filed.)

          NAME AND ADDRESS OF                                  DATES OF                             AMOUNT                AMOUNT
          CREDITOR                                             PAYMENTS                             PAID                  STILL OWING
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                                                                                                                         2

None   b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90
       days immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is
       affected by such transfer is less than $5,475. If the debtor is an individual, indicate with an asterisk (*) any payments that
       were made to a creditor on account of a domestic support obligation or as part of an alternative repayment schedule under
       a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter
       13 must include payments and other transfers by either or both spouses whether or not a joint petition is filed, unless the
       spouses are separated and a joint petition is not filed.)
        NAME AND ADDRESS OF CREDITOR                     DATES OF                               AMOUNT                 AMOUNT
                                                         PAYMENTS/                              PAID OR                STILL
                                                         TRANSFERS                              VALUE OF               OWING
                                                                                                TRANSFERS




None   c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the
       benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments
       by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is
       not filed.)
       NAME AND ADDRESS OF CREDITOR                     DATE OF                                 AMOUNT                 AMOUNT
       AND RELATIONSHIP TO DEBTOR                       PAYMENT                                 PAID                   STILL OWING




       4. Suits and administrative proceedings, executions, garnishments and attachments
None   a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding
       the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
       either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is
       not filed.)
       CAPTION OF SUIT                                                         COURT OR AGENCY                       STATUS OR
       AND CASE NUMBER                     NATURE OF PROCEEDING                AND LOCATIO                           DISPOSITION




None b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year
     immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
     information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are
     separated and a joint petition is not filed.)
       NAME AND ADDRESS                                                                   DESCRIPTION
       OF PERSON FOR WHOSE                                    DATE OF                     AND VALUE OF
       BENEFIT PROPERTY WAS SEIZED                            SEIZURE                     PROPERTY

       5. Repossessions, foreclosures and returns
None   List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of
       foreclosure or returned to the seller, within one year immediately preceding the commencement of this case. (Married
       debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both spouses
       whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                              DATE OF REPOSSESSION, DESCRIPTION
       NAME AND ADDRESS                                       FORECLOSURE SALE,              AND VALUE OF
       OF CREDITOR OR SELLER                                  TRANSFER OR RETURN             PROPERTY
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                                                                                                                        3

       6. Assignments and receiverships
None   a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the
       commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either
       or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
       filed.)
                                                                                          TERMS OF
       NAME AND ADDRESS                                     DATE OF                       ASSIGNMENT
       OF ASSIGNEE                                          ASSIGNMENT                    OR SETTLEMENT

None   b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year
       immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
       include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
       spouses are separated and a joint petition is not filed.)


                                                NAME AND ADDRESS                                           DESCRIPTION
       NAME AND ADDRESS                         OF COURT                          DATE OF                  AND VALUE OF
       OF CUSTODIAN                             CASE TITLE & NUMBER               ORDER                    PROPERTY

       7. Gifts
None   List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except
       ordinary and usual gifts to family members aggregating less than $200 in value per individual family member and charitable
       contributions aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include
       gifts or contributions by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)


       NAME AND ADDRESS                         RELATIONSHIP                                               DESCRIPTION
       OF PERSON                                TO DEBTOR,                   DATE                          AND VALUE OF
       OR ORGANIZATION                          IF ANY                       OF GIFT                       GIFT

       8. Losses
None   List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement
       of this case or since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
       include losses by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)

       DESCRIPTION                                   DESCRIPTION OF CIRCUMSTANCES AND, IF
       AND VALUE OF                                  LOSS WAS COVERED IN WHOLE OR IN PART                         DATE OF
       PROPERTY                                      BY INSURANCE, GIVE PARTICULARS                               LOSS

       9. Payments related to debt counseling or bankruptcy
None   List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for
       consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within
       one year immediately preceding the commencement of this case.


       NAME AND ADDRESS                                     DATE OF PAYMENT,               AMOUNT OF MONEY OR
       OF PAYEE                                             NAME OF PAYOR IF               DESCRIPTION AND VALUE
                                                            OTHER THAN DEBTOR              OF PROPERTY
       MACCO & STERN, LLP                                   SEE 2016-2017(B)               $299.00 FILING FEE & $2,250.00 LEGAL
       135 PINELAWN ROAD                                    STATEMENT                      SERVICES.
       SUITE 120 SOUTH                                      ATTACHED.
       MELVILLE, NY 11747
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                                                                                                                        4

       10. Other transfers
None   a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the
       debtor, transferred either absolutely or as security within two years immediately preceding the commencement of this case.
       (Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                                  DESCRIBE PROPERTY
       NAME AND ADDRESS OF TRANSFEREE,                                                            TRANSFERRED
       RELATIONSHIP TO DEBTOR                                DATE                                 AND VALUE RECEIVED




None   b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a
       self-settled trust or similar device of which the debtor is a beneficiary.


       NAME OF TRUST OR OTHER                              DATE(S) OF                      AMOUNT OF MONEY OR DESCRIPTION
       DEVICE                                              TRANSFER(S)                     AND VALUE OF PROPERTY OR DEBTOR
                                                                                           INTEREST IN PROPERTY



       11. Closed financial accounts
None   List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed,
       sold, or otherwise transferred within one year immediately preceding the commencement of this case. Include checking,
       savings, or other financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks,
       credit unions, pension funds, cooperatives, associations, brokerage houses and other financial institutions. (Married debtors
       filing under chapter 12 or chapter 13 must include information concerning accounts or instruments held by or for either or
       both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                         TYPE OF ACCOUNT, LAST FOUR                  AMOUNT AND
       NAME AND ADDRESS                                  DIGITS OF ACCOUNT NUMBER,                   DATE OF SALE
       OF INSTITUTION                                    AND AMOUNT OF FINAL BALANCE                 OR CLOSING
       WASHINGTON MUTUAL                                 MUTUAL FUND ACCOUNT
                                                                                                     SEPTEMBER 2008

       WASHINGTON MUTUAL                                 SAVINGS ACCOUNT
                                                                                                     OCTOBER 2008


       12. Safe deposit boxes
None   List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within
       one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13
       must include boxes or depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are
       separated and a joint petition is not filed.)


       NAME AND ADDRESS                         NAMES AND ADDRESSES                DESCRIPTION                   DATE OF TRANSFER
       OF BANK OR                               OF THOSE WITH ACCESS               OF                            OR SURRENDER,
       OTHER DEPOSITORY                         TO BOX OR DEPOSITOR                CONTENTS                      IF ANY

       13. Setoffs
None   List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding
       the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information
       concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)

                                                                       DATE OF                    AMOUNT OF
       NAME AND ADDRESS OF CREDITOR                                    SETOFF                     SETOFF
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                                                                                                                         5


       14. Property held for another person
None   List all property owned by another person that the debtor holds or controls.
       NAME AND ADDRESS                                       DESCRIPTION AND VALUE
       OF OWNER                                               OF PROPERTY                          LOCATION OF PROPERTY


       15. Prior address of debtor
None   If debtor has moved within three years immediately preceding the commencement of this case, list all premises which the
       debtor occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also
       any separate address of either spouse.

       ADDRESS                                                          NAME USED                             DATES OF OCCUPANCY

       16. Spouses and Former Spouses
None   If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
       California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years
       immediately preceding the commencement of the case, identify the name of the debtor 's spouse and of any former spouse
       who resides or resided with the debtor in the community property state.
       NAME


       17. Environmental Information.
       For the purpose of this question, the following definitions apply:

       "Environmental Law" means any federal, state or local statute or regulation regulating pollution, contamination, releases of
       hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium,
       including, but not limited to, statutes or regulations regulating the cleanup of these substances, wastes, or material.

       "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or
       formerly owned or operated by the debtor, including, but not limited to, disposal sites.

       "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance,
       hazardous material, pollutant, or contaminant or similar term under an Environmental Law.

None
       a.      List the name and address of every site for which the debtor has received notice in writing by a governmental unit
       that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the
       date of the notice, and, if known, the Environmental Law.



       SITE NAME AND                              NAME AND ADDRESS                    DATE OF                  ENVIRONMENTAL
       ADDRESS                                    OF GOVERNMENTAL UNIT                NOTICE                   LAW


None   b.   List the name and address of every site for which the debtor provided notice to a governmental unit of a release of
       Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.



       SITE NAME AND                        NAME AND ADDRESS                     DATE OF                ENVIRONMENTAL
       ADDRESS                              OF GOVERNMENTAL UNIT                 NOTICE                 LAW
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                                                                                                                         6

None   c.     List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with
       respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party
       to the proceeding, and the docket number.



       NAME AND ADDRESS                           DOCKET NUMBER                                    STATUS OR
       OF GOVERNMENTAL UNIT                                                                        DISPOSITION


       18. Nature, location and name of business
None   a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses,
       and beginning and ending dates of all businesses in which the debtor was an officer, director, partner, or managing
       executive of a corporation, partner in a partnership, sole proprietor, or was self-employed in a trade, profession, or
       other activity either full- or part-time within the six years immediately preceding the commencement of this case,
       or in which the debtor owned 5 percent or more of the voting or equity securities within the six years immediately
       preceding the commencement of this case.

       If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses,
       and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
       the voting or equity securities, within the six years immediately preceding the commencement of this case.

       If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the business, and
       beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or
       equity securities within the six years immediately preceding the commencement of this case.
                                 LAST FOUR DIGITS
                                 OF SOCIAL SECURITY ADDRESS
       NAME                                                                             NATURE OF             BEGINNING AND ENDING
                                 OR OTHER INDIVIDUAL
                                                                                        BUSINESS              DATES
                                 TAXPAYER-I.D. NO.
                                 (ITIN)/ COMPLETE EIN

None   b.      Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11
       U.S.C. § 101.


       NAME                                                                      ADDRESS
       19. Books, records and financial statements
None   a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept
       or supervised the keeping of books of account and records of the debtor.

       NAME AND ADDRESS                                                          DATES SERVICES RENDERED
None   b. List all firms or individuals who within two years immediately preceding the filing of this bankruptcy case have audited
       the books of account and records, or prepared a financial statement of the debtor.

       NAME                       ADDRESS                                        DATES SERVICES RENDERED
None   c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account
       and records of the debtor. If any of the books of account and records are not available, explain.

       NAME                                                                 ADDRESS
None   d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a
       financial statement was issued by the debtor within two years immediately preceding the commencement of this case.

       NAME AND ADDRESS                                                DATE ISSUED
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                                                                                                                              7

       20. Inventories
None   a. List the dates of the last two inventories taken of your property, the name of the person who supervised the
       taking of each inventory, and the dollar amount and basis of each inventory.

                                                                                         DOLLAR AMOUNT OF INVENTORY
       DATE OF INVENTORY                INVENTORY SUPERVISOR                             (Specify cost, market or other
                                                                                         basis)


None   b. List the name and address of the person having possession of the records of each of the inventories reported
       in a., above.

                                                                         NAME AND ADDRESSES OF CUSTODIAN
       DATE OF INVENTORY                                                 OF INVENTORY RECORDS

       21. Current Partners, Officers, Directors and Shareholders
None   a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the
       partnership.

       NAME AND ADDRESS                                        NATURE OF INTEREST                    PERCENTAGE OF INTEREST
None   b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or
       indirectly owns, controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                     NATURE AND PERCENTAGE
       NAME AND ADDRESS                                        TITLE                                 OF STOCK OWNERSHIP



       22. Former partners, officers, directors and shareholders
None   a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately
       preceding the commencement of this case.

       NAME                                      ADDRESS                                                  DATE OF WITHDRAWAL




None   b. If the debtor is a corporation, list all officers or directors whose relationship with the corporation terminated
       within one year immediately preceding the commencement of this case.

                                                               TITLE                                 DATE OF TERMINATION
       NAME AND ADDRESS
       23. Withdrawals from a partnership or distributions by a corporation
None   If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including
       compensation in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year
       immediately preceding the commencement of this case.


       NAME & ADDRESS                                                                                AMOUNT OF MONEY
       OF RECIPIENT,                                          DATE AND PURPOSE                       OR DESCRIPTION
       RELATIONSHIP TO DEBTOR                                 OF WITHDRAWAL                          AND VALUE OF PROPERTY




       24. Tax Consolidation Group.
None   If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any
       consolidated group for tax purposes of which the debtor has been a member at any time within six years immediately
       preceding the commencement of the case.

       NAME OF PARENT CORPORATION                              TAXPAYER IDENTIFICATION NUMBER (EIN)
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       25. Pension Funds.
None   If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to which the
       debtor, as an employer, has been responsible for contributing at any time within six years immediately preceding the
       commencement of the case.

       NAME OF PENSION FUND                                             TAXPAYER IDENTIFICATION NUMBER (EIN)




                                                                * * * * * *
   [if completed by an individual or individual and spouse]
   I declare under penalty of perjury that I have read the answers contained in the foregoing statement
   of financial affairs and any attachments thereto and that they are true and correct.

   Date 10/28/2008                                        Signature      s/ ANTHONY M. SNYDER
                                                          of Debtor      ANTHONY M. SNYDER

   Date 10/28/2008                                        Signature       s/ JENNIFER A. SNYDER
                                                          of Joint Debtor JENNIFER A. SNYDER
                                                          (if any)
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In re   ANTHONY M. SNYDER, JENNIFER A. SNYDER                              According to the calculations required by this statement:
                    Debtor(s)                                                   The presumption arises

Case Number:                                                                   The presumption does not arise
                    (If known)                                               (Check the box as directed in Parts I, III, and VI of this statement.)

                                 CHAPTER 7 STATEMENT OF CURRENT MONTHLY INCOME
                                           AND MEANS-TEST CALCULATION
In addition to Schedules I and J, this statement must be completed by every individual chapter 7 debtor, whether or not filing
jointly. Joint debtors may complete one statement only.

                 Part I. EXCLUSION FOR DISABLED VETERANS AND NON-CONSUMER DEBTORS

         If you are a disabled veteran described in the Veteran’s Declaration in this Part I, (1) check the box at the beginning of the
         Veteran’s Declaration, (2) check the box for “The presumption does not arise” at the top of this statement, and (3)
         complete the verification in Part VIII. Do not complete any of the remaining parts of this statement.
   1A
              Veteran’s Declaration. By checking this box, I declare under penalty of perjury that I am a disabled veteran (as
         defined in 38 U.S.C. § 3741(1)) whose indebtedness occurred primarily during a period in which I was on active duty (as
         defined in 10 U.S.C. § 101(d)(1)) or while I was performing a homeland defense activity (as defined in 32 U.S.C. §901(1)).
         If your debts are not primarily consumer debts, check the box below and complete the verification in Part VIII. Do not
  1B     complete any of the remaining parts of this statement.

               Declaration of non-consumer debts. By checking this box, I declare that my debts are not primarily consumer debts.



                     Part II. CALCULATION OF MONTHLY INCOME FOR § 707(b)(7) EXCLUSION
         Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
         a.       Unmarried. Complete only Column A ("Debtor's Income") for Lines 3-11.
         b.       Married, not filing jointly, with declaration of separate households. By checking this box, debtor declares under
                  penalty of perjury: "My spouse and I are legally separated under applicable non-bankruptcy law or my spouse
                  and I are living apart other than for the purpose of evading the requirements of § 707(b)(2)(A) of the Bankruptcy
   2              Code." Complete only Column A ("Debtor's Income") for Lines 3-11.
         c.       Married, not filing jointly, without the declaration of separate households set out in line 2.b above. Complete
                  both Column A ("Debtor's Income") and Column B (Spouse's Income) for Lines 3-11.
         d.       Married, filing jointly. Complete both Column A ("Debtor's Income") and Column B (Spouse's Income) for
                  Lines 3-11.
         All figures must reflect average monthly income received from all sources, derived during the             Column A            Column B
         six calendar months prior to filing the bankruptcy case, ending on the last day of the month               Debtor's           Spouse's
         before the filing. If the amount of monthly income varied during the six months, you must                  Income              Income
         divide the six-month total by six, and enter the result on the appropriate line.

   3     Gross wages, salary, tips, bonuses, overtime, commissions.                                              $ 5,000.00         $1,680.25
         Income from the operation of a business, profession or farm. Subtract Line b from
   4     Line a and enter the difference in the appropriate column(s) of Line 4. If you operate more
         than one business, profession or farm, enter aggregate numbers and provide details on an
         attachment. Do not enter a number less than zero. Do not include any part of the business
         expenses entered on Line b as a deduction in Part V.
          a.     Gross Receipts                                               $ 0.00
          b.     Ordinary and necessary business expenses                     $ 0.00
          c.     Business income                                              Subtract Line b from Line a        $ 0.00             $0.00
         Rent and other real property income. Subtract Line b from Line a and enter the difference
         in the appropriate column(s) of Line 5. Do not enter a number less than zero. Do not
         include any part of the operating expenses entered on Line b as a deduction in Part V.
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  5      a.      Gross Receipts                                                            $ 0.00
         b.      Ordinary and necessary operating expenses                                 $ 0.00
                                                                                                                               $ 0.00       $0.00
         c.      Rent and other real property income                                       Subtract Line b from Line a

  6    Interest, dividends, and royalties.                                                                                     $ 0.00       $0.00

  7     Pension and retirement income.                                                                                         $ 0.00       $0.00
  8    Any amounts paid by another person or entity, on a regular basis, for the household
       expenses of the debtor or the debtor’s dependents, including child support paid for                                     $ 0.00       $0.00
       that purpose. Do not include alimony or separate maintenance payments or amounts paid
       by your spouse if Column B is completed.

       Unemployment compensation. Enter the amount in the appropriate column(s) of Line 9.
       However, if you contend that unemployment compensation received by you or your spouse
       was a benefit under the Social Security Act, do not list the amount of such compensation in
  9    Column A or B, but instead state the amount in the space below:

         Unemployment compensation claimed to
         be a benefit under the Social Security Act                Debtor $                   Spouse $                         $ 0.00       $0.00

       Income from all other sources. Specify source and amount. If necessary, list additional
       sources on a separate page. Do not include alimony or separate maintenance payments
       paid by your spouse if Column B is completed, but include all other payments of
  10   alimony or separate maintenance. Do not include any benefits received under the Social
       Security Act or payments received as a victim of a war crime, crime against humanity, or as
       a victim of international or domestic terrorism.



         a. UNIVERSAL SEMINARS                                                         $ 553.00
       Total and enter on Line 10.                                                                                             $ 0.00       $553.00

       Subtotal of Current Monthly Income for § 707(b)(7). Add Lines 3 thru 10 in Column A,
  11                                                                                                                           $ 5,000.00   $2,233.25
       and, if Column B is completed, add Lines 3 thru 10 in Column B. Enter the total(s).

       Total Current Monthly Income for § 707(b)(7). If Column B has been completed, add Line
       11, Column A to Line 11, Column B, and enter the total. If Column B has not been                                        $ 7,233.25
  12
       completed, enter the amount from Line 11, Column A.

                                          Part III. APPLICATION OF § 707(b)(7) EXCLUSION

       Annualized Current Monthly Income for § 707(b)(7). Multiply the amount from Line 12 by the number 12 and enter
  13   the result.                                                                                                                          $ 86,799.00

       Applicable median family income. Enter the median family income for the applicable state and household size. (This
  14   information is available by family size at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)
                                                                                                                                            $65,477.00
       a. Enter debtor’s state of residence:    NY                                 b. Enter debtor’s household size:     3

       Application of Section 707(b)(7). Check the applicable box and proceed as directed.
  15          The amount on Line 13 is less than or equal to the amount on Line 14. Check the box for “The presumption does not
              arise” at the top of page 1 of this statement, and complete Part VIII; do not complete Parts IV, V, VI or VII.
              The amount on Line 13 is more than the amount on Line 14. Complete the remaining parts of this statement.

                          Complete Parts IV, V, VI, and VII of this statement only if required. (See Line 15).
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                        Part IV. CALCULATION OF CURRENT MONTHLY INCOME FOR § 707(b)(2)

  16   Enter the amount from Line 12.                                                                                      $7,233.25

        Marital adjustment. If you checked the box at Line 2.c, enter on Line 17 the total of any income listed in
  17
        Line 11, Column B that was NOT paid on a regular basis for the household expenses of the debtor or the
        debtor’s dependents. Specify in the lines below the basis for excluding the Column B income (such as
        payment of the spouse’s tax liability or the spouse’s support of persons other than the debtor or the debtor’s
        dependents) and the amount of income devoted to each purpose. If necessary, list additional adjustments
        on a separate page. If you did not check box at Line 2.c, enter zero.

              a.                                                                              $

         Total and enter on Line 17 .                                                                                      $ 0.00

  18   Current monthly income for § 707(b)(2). Subtract Line 17 from Line 16 and enter the result.                         $7,233.25

                                     Part V. CALCULATION OF DEDUCTIONS FROM INCOME
                              Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)

        National Standards: food, clothing and other items. Enter in Line 19A the “Total” amount from IRS
19A     National Standards for Food, Clothing and Other Items for the applicable household size. (This information
        is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)
                                                                                                                           $ 1,151.00
       National Standards: health care. Enter in Line a1 below the amount from IRS National Standards for
19B    Out-of-Pocket Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards for
       Out-of-Pocket Health Care for persons 65 years of age or older. (This information is available at
       www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) Enter in Line b1 the number of members of
       your household who are under 65 years of age, and enter in Line b2 the number of members of your
       household who are 65 years of age or older. (The total number of household members must be the same as
       the number stated in Line 14b.) Multiply Line a1 by Line b1 to obtain a total amount for household members
       under 65, and enter the result in Line c1. Multiply Line a2 by Line b2 to obtain a total amount for household
       members 65 and older, and enter the result in Line c2. Add Lines c1 and c2 to obtain a total health care
       amount, and enter the result in Line 19B.

         Household members under 65 years of age                         Household members 65 years of age or older
         a1.       Allowance per member                   57.00          a2.     Allowance per member             144.00
         b1. Number of members                             3.00          b2.     Number of members                0.00

         c1.       Subtotal                                              c2.     Subtotal                         0.00
                                                         171.00                                                            $ 171.00

        Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the IRS Housing
        and Utilities Standards; non-mortgage expenses for the applicable county and household size. (This
20A                                                                                                                        $ 642.00
        information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court).

        Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount of
        the IRS Housing and Utilities Standards; mortgage/rent expense for your county and household size (this
20B     information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter on Line b the
        total of the Average Monthly Payments for any debts secured by your home, as stated in Line 42; subtract
        Line b from Line a and enter the result in Line 20B. Do not enter an amount less than zero.

         a.          IRS Housing and Utilities Standards; mortgage/rental expense   $ 1,657.00
         b.          Average Monthly Payment for any debts secured by home, if      $ 3,267.99
                     any, as stated in Line 42.
         c.          Net mortgage/rental expense                                    Subtract Line b from Line a            $ 0.00
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       Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines 20A
       and 20B does not accurately compute the allowance to which you are entitled under the IRS Housing and
21     Utilities Standards, enter any additional amount to which you contend you are entitled, and state the basis
       for your contention in the space below:
                                                                                                                        $



       Local Standards: transportation; vehicle operation/public transportation expense. You are entitled to
       an expense allowance in this category regardless of whether you pay the expenses of operating a vehicle
       and regardless of whether you use public transportation.

       Check the number of vehicles for which you pay the operating expenses or for which the operating expenses
       are included as a contribution to your household expenses in Line 8.          0       1       2 or more.
22A
       If you checked 0, enter on Line 22A the “Public Transportation” amount from IRS Local Standards:
       Transportation. If you checked 1 or 2 or more, enter on Line 22A the “Operating Costs” amount from IRS           $ 560.00
       Local Standards: Transportation for the applicable number of vehicles in the applicable Metropolitan
       Statistical Area or Census Region. (These amounts are available at www.usdoj.gov/ust/ or from the clerk of
       the bankruptcy court.)
        Local Standards: transportation; additional public transportation expense. If you pay the operating
22B     expenses for a vehicle and also use public transportation, and you contend that you are entitled to an
        additional deduction for your public transportation expenses, enter on Line 22B the “Public Transportation”
        amount from IRS Local Standards: Transportation. (This amount is available at www.usdoj.gov/ust/ or from
        the clerk of the bankruptcy court.)                                                                             $ 0.00

       Local Standards: transportation ownership/lease expense; Vehicle 1. Check the number of vehicles for
       which you claim an ownership/lease expense. (You may not claim an ownership/lease expense for more
       than two vehicles.)
              1        2 or more.
       Enter, in Line a below, the “Ownership Costs” for “One Car” from the IRS Local Standards: Transportation
23     (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
       Average Monthly Payments for any debts secured by Vehicle 1, as stated in Line 42; subtract Line b from
       Line a and enter the result in Line 23. Do not enter an amount less than zero.

         a.       IRS Transportation Standards, Ownership Costs                 $ 489.00
         b.       Average Monthly Payment for any debts secured by Vehicle 1,
                  as stated in Line 42.                                         $ 387.54
         c.       Net ownership/lease expense for Vehicle 1                     Subtract Line b from Line a             $ 101.46


        Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line only if you checked
        the “2 or more” Box in Line 23.
        Enter, in Line a below, the “Ownership Costs” for “One Car” from the IRS Local Standards: Transportation
24      (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
        Average Monthly Payments for any debts secured by Vehicle 2, as stated in Line 42; subtract Line b from
        Line a and enter the result in Line 24. Do not enter an amount less than zero.
         a.       IRS Transportation Standards, Ownership Costs                 $ 0.00
         b.       Average Monthly Payment for any debts secured by Vehicle 2,   $
                  as stated in Line 42
         c.       Net ownership/lease expense for Vehicle 2                     Subtract Line b from Line a             $ 0.00

       Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all
25     federal, state and local taxes, other than real estate and sales taxes, such as income taxes, self employment
                                                                                                                     $ 926.24
       taxes, social security taxes, and Medicare taxes. Do not include real estate or sales taxes.
       Other Necessary Expenses: involuntary deductions for employment. Enter the total average monthly
       payroll deductions that are required for your employment, such as retirement contributions, union dues, and
26     uniform costs. Do not include discretionary amounts, such as voluntary 401(k) contributions.                  $ 0.00
       Other Necessary Expenses: life insurance. Enter total average monthly premiums that you actually
       pay for term life insurance for yourself. Do not include premiums for insurance on your dependents, for
27                                                                                                                   $ 173.00
       whole life or for any other form of insurance.
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       Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are
       required to pay pursuant to the order of a court or administrative agency, such as spousal or child support
28                                                                                                                      $ 0.00
       payments. Do not include payments on past due obligations included in Line 44.

       Other Necessary Expenses: education for employment or for a physically or mentally challenged
       child. Enter the total average monthly amount that you actually expend for education that is a condition of
29     employment and for education that is required for a physically or mentally challenged dependent child for
                                                                                                                        $ 0.00
       whom no public education providing similar services is available.
       Other Necessary Expenses: childcare. Enter the total average monthly amount that you actually expend on
30     childcare—such as baby-sitting, day care, nursery and preschool. Do not include other educational
       payments.                                                                                                        $ 0.00
       Other Necessary Expenses: health care. Enter the total average monthly amount that you actually expend
31     on health care that is required for the health and welfare of yourself or your dependents, that is not
       reimbursed by insurance or paid by a health savings account, and that is in excess of the amount entered in
       Line 19B. Do not include payments for health insurance or health savings accounts listed in Line 34.             $ 480.00
       Other Necessary Expenses: telecommunication services. Enter the total average monthly amount that
32     you actually pay for telecommunication services other than your basic home telephone and cell phone
       service— such as pagers, call waiting, caller id, special long distance, or internet service—to the extent
       necessary for your health and welfare or that of your dependents. Do not include any amount previously
                                                                                                                        $ 0.00
       deducted.
33     Total Expenses Allowed under IRS Standards. Enter the total of Lines 19 through 32.                              $ 4,204.70
                                      Subpart B: Additional Living Expense Deductions
                             Note: Do not include any expenses that you have listed in Lines 19-32
       Health Insurance, Disability Insurance, and Health Savings Account Expenses. List the monthly
       expenses in the categories set out in lines a-c below that are reasonably necessary for yourself, your
       spouse, or your dependents.
         a.     Health Insurance                                   $ 0.00
34
         b.     Disability Insurance                               $
         c.     Health Savings Account                             $

                                                                                                                        $ 0.00
       Total and enter on Line 34
       If you do not actually expend this total amount, state your actual total average monthly expenditures in
       the space below:
       $

       Continued contributions to the care of household or family members. Enter the total average actual
       monthly expenses that you will continue to pay for the reasonable and necessary care and support of an
35     elderly, chronically ill, or disabled member of your household or member of your immediate family who is         $ 0.00
       unable to pay for such expenses.
       Protection against family violence. Enter the total average reasonably necessary monthly expenses that
36     you actually incurred to maintain the safety of your family under the Family Violence Prevention and             $ 0.00
       Services Act or other applicable federal law. The nature of these expenses is required to be kept confidential
       by the court.
       Home energy costs. Enter the total average monthly amount, in excess of the allowance specified by IRS
       Local Standards for Housing and Utilities, that you actually expend for home energy costs. You must
37                                                                                                                      $
       provide your case trustee with documentation of your actual expenses, and you must demonstrate
       that the additional amount claimed is reasonable and necessary.
       Education expenses for dependent children less than 18. Enter the total average monthly expenses that
       you actually incur, not to exceed $137.50 per child, for attendance at a private or public elementary or
38     secondary school by your dependent children less than 18 years of age. You must provide your case
       trustee with documentation of your actual expenses, and you must explain why the amount claimed                  $ 0.00
       is reasonable and necessary and not already accounted for in the IRS Standards.
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       Additional food and clothing expense. Enter the total average monthly amount by which your food and
       clothing expenses exceed the combined allowances for food and clothing (apparel and services) in the IRS
39     National Standards, not to exceed 5% of those combined allowances. (This information is available at
       www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) You must demonstrate that the additional
       amount claimed is reasonable and necessary.                                                                                     $

       Continued charitable contributions. Enter the amount that you will continue to contribute in the form of cash or
40     financial instruments to a charitable organization as defined in 26 U.S.C. § 170(c)(1)-(2).                                     $ 25.00


41     Total Additional Expense Deductions under § 707(b). Enter the total of Lines 34 through 40.                                     $ 25.00

                                                 Subpart C: Deductions for Debt Payment

       Future payments on secured claims. For each of your debts that is secured by an interest in property that
       you own, list the name of the creditor, identify the property securing the debt, state the Average Monthly
       Payment, and check whether the payment includes taxes or insurance. The Average Monthly Payment is the
       total of all amounts scheduled as contractually due to each Secured Creditor in the 60 months following the
       filing of the bankruptcy case, divided by 60. If necessary, list additional entries on a separate page. Enter
42     the total of the Average Monthly Payments on Line 42.
                    Name of             Property Securing the Debt             Average                         Does payment
                    Creditor                                                   Monthly                         include taxes
                                                                               Payment                         or insurance?
         a.   COUNTRYWIDE               DEBTOR'S RESIDENCE                $ 2,621.32                         yes       no
         b.   CHASE                     DEBTOR'S RESIDENCE                $ 646.67                           yes       no
         c.   INDYMAC                   PA INVESTMENT                     $ 511.83                           yes       no
                                        PROPERTY
                                                                                                         Total: Add Lines a, b and c   $ 3,779.82
       Other payments on secured claims. If any of debts listed in Line 42 are secured by your primary
       residence, a motor vehicle, or other property necessary for your support or the support of your dependents,
       you may include in your deduction 1/60th of any amount (the “cure amount”) that you must pay the creditor
       in addition to the payments listed in Line 42, in order to maintain possession of the property. The cure
       amount would include any sums in default that must be paid in order to avoid repossession or foreclosure.
 43    List and total any such amounts in the following chart. If necessary, list additional entries on a separate
       page.
                     Name of Creditor                 Property Securing the Debt          1/60th of the Cure Amount
         a. INDYMAC                             PA INVESTMENT PROPERTY                   $ 34.12
                                                                                                         Total: Add Lines a, b and c   $ 34.12
       Payments on prepetition priority claims. Enter the total amount, divided by 60, of all priority claims, such
44     as priority tax, child support and alimony claims, for which you were liable at the time of your bankruptcy                     $ 0.00
       filing. Do not include current obligations, such as those set out in Line 28.

       Chapter 13 administrative expenses. If you are eligible to file a case under Chapter 13, complete the
       following chart, multiply the amount in line a by the amount in line b, and enter the resulting administrative
       expense.
         a.    Projected average monthly Chapter 13 plan payment.                        $
         b.    Current multiplier for your district as determined under schedules issued
 45             by the Executive Office for United States Trustees. (This information is
                available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy
                court.)                                                                              x   10.00
         c.     Average monthly administrative expense of Chapter 13 case
                                                                                                     Total: Multiply Lines a and b     $ 0.00

 46    Total Deductions for Debt Payment. Enter the total of Lines 42 through 45.                                                      $ 3,813.94

                                                 Subpart D: Total Deductions from Income

47     Total of all deductions allowed under § 707(b)(2). Enter the total of Lines 33, 41, and 46.                                     $ 8,043.64
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                                    Part VI. DETERMINATION OF § 707(b)(2) PRESUMPTION

48     Enter the amount from Line 18 (Current monthly income for § 707(b)(2))                                                      $ 7,233.25
49     Enter the amount from Line 47 (Total of all deductions allowed under § 707(b)(2))                                           $ 8,043.64
50     Monthly disposable income under § 707(b)(2). Subtract Line 49 from Line 48 and enter the result                             $ -810.39

       60-month disposable income under § 707(b)(2). Multiply the amount in Line 50 by the number 60 and enter the
51     result.
                                                                                                                                   $ -48,623.40

       Initial presumption determination. Check the applicable box and proceed as directed.
              The amount on Line 51 is less than $6,575 Check the box for “The presumption does not arise” at the top of page 1 of this
              statement, and complete the verification in Part VIII. Do not complete the remainder of Part VI.
52            The amount set forth on Line 51 is more than $10,950. Check the box for “The presumption arises” at the top of page 1 of this
              statement, and complete the verification in Part VIII. You may also complete Part VII. Do not complete the remainder of Part VI.
              The amount on Line 51 is at least $6,575, but not more than $10,950. Complete the remainder of Part VI (Lines 53 through
              55).

53     Enter the amount of your total non-priority unsecured debt                                                                  $
54     Threshold debt payment amount. Multiply the amount in Line 53 by the number 0.25 and enter the result.                      $ 0.00

       Secondary presumption determination. Check the applicable box and proceed as directed.
              The amount on Line 51 is less than the amount on Line 54. Check the box for “The presumption does not arise” at the top of
55            page 1 of this statement, and complete the verification in Part VIII.
              The amount on Line 51 is equal to or greater than the amount on Line 54. Check the box for “The presumption arises” at
              the top of page 1 of this statement, and complete the verification in Part VIII. You may also complete Part VII.


                                                Part VII. ADDITIONAL EXPENSE CLAIMS
       Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the
       health and welfare of you and your family and that you contend should be an additional deduction from your current
       monthly income under § 707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should
       reflect your average monthly expense for each item. Total the expenses.
56
                                                Expense Description                                               Monthly Amount
         a.      CHILD CARE                                                                            $ 480.00
         b.      HAIRCUTS & GROOMING                                                                   $ 50.00
                                                                     Total: Add Lines a, b, and c      $ 530.00

                                                             Part VIII: VERIFICATION
       I declare under penalty of perjury that the information provided in this statement is true and correct. (If this a joint case,
       both debtors must sign.)
  57            Date: 10/28/2008                             Signature: s/ ANTHONY M. SNYDER
                                                                         ANTHONY M. SNYDER, (Debtor)

                     Date: 10/28/2008                                    Signature: s/ JENNIFER A. SNYDER
                                                                                    JENNIFER A. SNYDER, (Joint Debtor, if any)
                      Case 8-08-76065-ast                  Doc 1          Filed 10/30/08               Entered 10/30/08 10:50:48



Form 8
(10/05)

                                                  UNITED STATES BANKRUPTCY COURT
                                                         Eastern District of New York

  In re:   ANTHONY M. SNYDER               JENNIFER A. SNYDER                                                        Case No.
                                                                                         ,
                                                                Debtors                                              Chapter       7


                CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
      I have filed a schedule of assets and liabilities which includes debts secured by property of the estate.

      I have filed a schedule of executory contracts and unexpired leases which includes personal property subject to an unexpired lease.
      I intend to do the following with respect to the property of the estate which secures those debts or is subject to a lease:



                                                                                                                    Property will             Debt will be
                                                                                                Property            be redeemed               reaffirmed
 Description of Secured                  Creditor's                        Property will be     is claimed
 Property                                Name                              Surrendered                              pursuant to               pursuant to
                                                                                                as exempt           11 U.S.C. § 722           11 U.S.C. § 524(c)

 1.   DEBTORS' RESIDENCE                 CHASE                                 X
      LOCATED IN
      RONKONKOMA, NY
 2.   2008 NISSAN ALTIMA                 NAVY FEDERAL C.U.                                                                                            X




                                                                           Lease will be
Description of Leased                     Lessor's                         assumed pursuant
Property                                  Name                             to 11 U.S.C. §
                                                                           362(h)(1)(A)
            None


s/ ANTHONY M. SNYDER                  10/28/2008                                              s/ JENNIFER A. SNYDER                    10/28/2008
ANTHONY M. SNYDER                                                                             JENNIFER A. SNYDER
Signature of Debtor                   Date                                                    Signature of Joint Debtor (if any)       Date
                     Case 8-08-76065-ast                    Doc 1        Filed 10/30/08             Entered 10/30/08 10:50:48



                                                     UNITED STATES BANKRUPTCY COURT
                                                     EASTERN DISTRICT OF NEW YORK

In Re                                                                                        BANKRUPTCY NO.

ANTHONY M. SNYDER
JENNIFER A. SNYDER
                                                                    Debtor.


                                                DECLARATION RE: ELECTRONIC FILING OF
                                                 PETITION, SCHEDULES & STATEMENTS

PART I - DECLARATION OF PETITIONER

           [We] ANTHONY M. SNYDER                                                  and       JENNIFER A. SNYDER                                         ,

the undersigned debtor(s), hereby declare under penalty of perjury that the information I have given my attorney and the information
provided in the electronically filed petition, statements, schedules is true and correct. I consent to my attorney sending my petition,
this declaration, statements and schedules to the United States Bankruptcy Court. I understand that this DECLARATION RE:
ELECTRONIC FILING is to be filed with the Clerk once all schedules have been filed electronically but, in no event, no later than 15 days
following the date the petition was electronically filed. I understand that failure to file the signed original of this DECLARATION will cause
my case to be dismissed pursuant to 11 U.S.C. § 707(a)(3) without further notice.


                   [If petitioner is an individual whose debts are primarily consumer debts and has chosen to file under chapter 7] I am
aware that I may proceed under chapter 7, 11, 12 or 13 of 11 United States Code, understand the relief available under each such chapter,
and choose to proceed under Chapter 7. I request relief in accordance with the chapter specified in this petition.
                   [If petitioner is a corporation or partnership] I declare under penalty of perjury that the information provided in this
petition is true and correct, and that I have been authorized to file this petition on behalf of the debtor. The debtor requests relief in
accordance with the chapter specified in this petition.

Dated:    10/28/2008
                                                  Signed:     s/ ANTHONY M. SNYDER                                   s/ JENNIFER A. SNYDER
                                                              ANTHONY M. SNYDER                                      JENNIFER A. SNYDER
                                                                               (Applicant)                                          (Joint Applicant)

PART II - DECLARATION OF ATTORNEY

            I declare under penalty of perjury that I have reviewed the above debtor’s petition and that the information is complete and
correct to the best of my knowledge. The debtor(s) will have signed this form before I submit the petition, schedules, and statements. I
will give the debtor(s) a copy of all forms and information to be filed with the United States Bankruptcy Court, and have followed all other
requirements in the most recent attachment to G.O. #162. I further declare that I have examined the above debtor’s petition, schedules, and
statements and, to the best of my knowledge and belief, they are true, correct, and complete. If an individual, I further declare that I have
informed the petitioner that [he or she] may proceed under chapter 7, 11, 12 or 13 of Title 11, United States Code, and have explained the
relief available under each such chapter. This declaration is based on all information of which I have knowledge.



Dated:    10/28/2008
                                                                               /s/ Michael J. Macco
                                                                               Michael J. Macco, Esq.
                                                                               Attorney for Debtor(s)
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    B 201 (04/09/06)

                                       UNITED STATES BANKRUPTCY COURT
                                        EASTERN DISTRICT OF NEW YORK


                       NOTICE TO INDIVIDUAL CONSUMER DEBTOR UNDER § 342(b)
                                     OF THE BANKRUPTCY CODE
                 In accordance with § 342(b) of the Bankruptcy Code, this notice: (1) Describes briefly the services available from
    credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of bankruptcy proceedings
    you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General may examine
    all information you supply in connection with a bankruptcy case. You are cautioned that bankruptcy law is complicated and
    not easily described. Thus, you may wish to seek the advice of an attorney to learn of your rights and responsibilities should
    you decide to file a petition. Court employees cannot give you legal advice.
    1. Services Available from Credit Counseling Agencies
             With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for
    bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit
    counseling and provides assistance in performing a budget analysis. The briefing must be given within 180 days
    before the bankruptcy filing. The briefing may be provided individually or in a group (including briefings conducted by
    telephone or on the Internet) and must be provided by a nonprofit budget and credit counseling agency approved by the
    United States trustee or bankruptcy administrator. The clerk of the bankruptcy court has a list that you may consult of the
    approved budget and credit counseling agencies.
              In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial
    management instructional course before he or she can receive a discharge. The clerk also has a list of approved
    financial management instructional courses.


    2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors
         Chapter 7: Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total fee $299)

              1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts.
   Debtors whose debts are primarily consumer debts are subject to a “means test” designed to determine whether the case
   should be permitted to proceed under chapter 7. If your income is greater than the median income for your state of
   residence and family size, in some cases, creditors have the right to file a motion requesting that the court dismiss your
   case under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
              2. Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the
   right to take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your
   creditors.
              3. The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found
   to have committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge
   and, if it does, the purpose for which you filed the bankruptcy petition will be defeated.
              4. Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you
   may still be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support
   and property settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts
   which are not properly listed in your bankruptcy papers; and debts for death or personal injury caused by operating a motor
   vehicle, vessel, or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud,
   breach of fiduciary duty, or theft, or from a willful and malicious injury, the bankruptcy court may determine that the debt is
   not discharged.
       Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee, $39
administrative fee: Total fee $274)
             1. Chapter 13 is designed for individuals with regular income who would like to pay all or part of
    their debts in installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar
    amounts set forth in the Bankruptcy Code.
              2. Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe
    them, using your future earnings. The period allowed by the court to repay your debts may be three years or five years,
    depending upon your income and other factors. The court must approve your plan before it can take effect.
              3. After completing the payments under your plan, your debts are generally discharged except for domestic support
    obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not
    properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term
    secured obligations.
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B 201                                                                                                                  Page 2

    Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
         Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions
are quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.
    Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)

         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from
future earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose
income arises primarily from a family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of
perjury, either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All
information supplied by a debtor in connection with a bankruptcy case is subject to examination by the Attorney General
acting through the Office of the United States Trustee, the Office of the United States Attorney, and other components and
employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your
creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if
this information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and
the local rules of the court.

                                                         Certificate of Attorney

              I hereby certify that I delivered to the debtor this notice required by § 342(b) of the Bankruptcy Code.

Michael J. Macco, Esq.                                                      /s/ Michael J. Macco             10/28/2008
Printed Name of Attorney                                                    Signature of Attorney                        Date

Address:
Macco & Stern, LLP
135 Pinelawn Road, Suite 120 South


Melville, New York 11747
(631) 549-7900

                                                        Certificate of the Debtor
    We, the debtors, affirm that we have received and read this notice.

ANTHONY M. SNYDER                                                   Xs/ ANTHONY M. SNYDER                     10/28/2008
                                                                     ANTHONY M. SNYDER
JENNIFER A. SNYDER
                                                                     Signature of Debtor                         Date
Printed Name(s) of Debtor(s)
                                                                   X s/ JENNIFER A. SNYDER                    10/28/2008
Case No. (if known)                                                  JENNIFER A. SNYDER
                                                                     Signature of Joint Debtor                   Date
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                 IC SYSTEM, INC.
                 RE: VERIZON
                 PO BOX 64378
                 ST. PAUL, MN 55164


                 ADVANTA
                 PO BOX 8088
                 PHILADELPHIA, PA 19101




                 BANK OF AMERICA
                 PO BOX 15726
                 WILMINGTON, DE 19886




                 CHASE
                 PO BOX 78420
                 PHOENIX, AZ 85062




                 CHASE- VISA
                 PO BOX 15299
                 WILMINGTON, DE 19850




                 COUNTRYWIDE MORTGAGE
                 7105 CORPORATE DRIVE
                 MAIL STOP PTX-B-209
                 PLANO, TX 75024


                 VERIZON / RMCC
                 140 WEST STREET LBBV1
                 NEW YORK, NY 10007




                 INDYMAC BANK
                 PO BOX 78826
                 PHOENIX, AZ 85062




                 LIPA
                 PO BOX 9050
                 HICKSVILLE, NY11802
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                 NAVY FEDERAL C.U.
                 PO BOX 25109
                 LEHIGH VALLEY, PA




                 SUFFOLK CO. WATER AUTHORI
                 PO BOX 1149
                 NEWARK, NJ 07101




                 VERIZON WIRELESS
                 PO BOX 408
                 NEWARK, NJ 07101




                 WASHINGTON MUTUAL
                 PO BOX 660433
                 DALLAS, TX 75266




                 WILLAIM D. FORD FEDERAL
                 DIRECT LOAN PROGRAM
                 C/O US DEPT.OF EDUCATION
                 PO BOX 242800
                 LOUISVILLE, KY 40224

                 WILLIAM D.FORD FEDERAL
                 DIRECT LOAN PROGRAM
                 C/O US DEP.T OF EDUCATION
                 PO BOX 242800
                 LOUISVILLE, KY 40224
